_— Case 1:22-cv-00506-LJV-LGF Document1_ Filed 06/28 CV 1 of 6 V
cep TUE. (NETS STATES PSZS7KZCT Cou?

| <H STATES DISTRF
Foie TUE hig TWIN = NagosWe £07 Coe ap

eee ———

= } )
‘ fA | ay /
Co Pl AT
G

Gl Cy-AfE /fFKe K. LB UMLE CL. Pro § 2, for Herr Corll cp
Safe 68  follos5:

DL. Pure, Truistitter & Yewe
2 Dlenpyep wes (orbioed (~ (oe Mew ore State
De Partmef aF Corechynag bral Co rsnity SPATS be
(heru-at br Dr0eS) AOL GBI FAM ao
PLEA FE fS Corey

. (WG Iee fabv Fp, doe.
Fore (0G, POE ve Me fled [VI OWS Ag

Conroe b~ Ustte C1F, FF Boreh

[293 5 ‘ ~ foes At- Ell STRESS
Ve \ htt AK t- ZBtttekhee o> an bathed

4 ew putioy & heh CAZER OF (e~ é
preter . cy alo of fre Shale BF Mew York,

states ere
( fragt orn)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 2 of 95
Hm LAS LL GLC Yes ECHL

7) eked nf / Do sefhte Mok nt Pe Pon8/ be far~ LPR

fe OQ leinpedtet Of “4 Of;
pl kjntiyete/ [fee >

Tres PULA
Caplin OF AM t

S ‘\[h AH cla 42 JL) tt, 645 A for SL. (Way 4 Ly

& the On} Pling feud CJG5
(ee fyves

te (emS/ OE

LrreS eleda Wy & Corr

5 GF att -
do bt. Fa

G. s fre fede Asay / Letty le pes prs ean B/S

Le phere O44 CLYZ 4 Ak few
ple PBS BS CLL AAR

ae?
™) Difer cl LL fo se, Wee pti
we) res Zs ble ry tle

g feller & Serge bE * AE, KB

Plo in BIE .
aL ACF
Art fpeletice F & Seige

all MEK
Gen ES A 7 ( / fer of (ler OF,
OlFe dak Sync 6 plt. Fer fir 4
$6 05 ye sl OOO Ee

No fur b  OAWE EGE CO cd ont OFF CE OE
WD chedet Ee,

WS GF OO PG je De, fet ore,
aK
pehud lu

joo rs / Ale
cp 44 pre .
Defeat Mipese we Ders, ble Fer Per MO Ll Kmey

pele fh ¢ Corte eel OFFICE

_ 7 Of? / / % pose ( QA LICE™
es , rpms &F 40 fpet vthrve-ty @ Corte 5,
7-\ Dif twee F bl ly - gy bie hi Ae ke (Low of pPp@-
2 PPE
ep keeG
at LG
A ws VK.
oer b Syklexsy (eS &F aH Pies ee ow EO
(O-) Dero J ve ~ g Wes yeh 7h & - fe
a VIET;
Coop OT ! 7
Dlalm Hee > ‘tf £e,!
plu A . ap alt Jjrrs PAMEPALD Ce Ce / FE pln ar

fered pie PLO p
Wh) Often~Le + LOS . pee Dalhre OF PLEA fF.

wes OF 4H FRA  ptletef AB VOCHH rm /

: Sf PCC
i) pdb Ae - vesien~ Sr bl~ fer pte Le fore

; Cd Joe?
Zs tretéon, &F AEG of

( /? bak 7 so J
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 3 of 95

TH , /Pertous Lan Sw by Plat tr

a 77. Gm hy Aas Kilo Ofhu [ewse/A, Lee OG ww / tA. fle.
Sare Fett Javofitd ~~ Pals Lehr.

I) A Inn dir Ned York Stee loud ve Class Urlewses}

Lon tire! Assn p Bethenys (he Phsties ps fer peers
Jeussui-b) vee Plirtitt AKO K. Bitabe e-" hep ede ps
Jhity Noerl, /netulock, Poles Pivdeke ridden, fob jory, Coe
SYK gs sF OX yo Hee gfape o4 Mes York Cor
Cer, Decker Wimber6! AB ¢o/& E 1 FYCO$ Unde
fejtherd S75, Fhe Case /S SAW (edi mg fhorel.

[he Lisi Wa (pled O~ Tivo VE, Doan, / (Vath ber
22, Delt; f S Ceubhes” OF IF (see Ex Ab 4 \
/

Div Exbhavs w~ of A dlrr fais fre fre.
fi t-te FES

154) ZL [pert fte JOF% ores GOL Pole dupe Khas
[os HRP YW fe pry A Sot Ody Jh-0 b ltr O~ M4 er Bole
LD Pewpes pe fee efits Pv Con Plo ¥
Le Kho S fa fe Joy S0re- Gren Jr Ce cure. a6 Lerted.
(See L£M 6/6) 60) |

VS palerwk of Clé/rn
(Pe leirteh reali. Crd (Co LOPE Bg Hef pree

(arg bk F To (eo Preree ny,
(Pes Tare)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 4 of 95

2) Ye GU felevad Apes Aerela, Me hendants Ljere Peres “
for fee PPORS of Ya USC Seehbn [9G3 8 Cole
Cncde- Color ot Lewd fo VeP ele JV ib tPF ofe bis
Con Ste firoace ( ig kts, 5 Sth Yow pew Folly helers,

UIT Sfaberet OF ~eEFS

UP on Belen SSt0r, 7 Van TOE req vesred & flowe C4, / DQur3 tet SO
Corvechin Lani (37D, Peherdet [OS Aen les Plar~ fell (PA
GO Fhe GO ssp,

i Sf
Caw G6). Cn Ww Gboup K)9 Verb 8 Prlg Moar Pb
ke en, ‘s S/o

¥

[R\ De fe-dmas MECMtK, Conltras @ Fite ZU SZC Pliomy Aeer'g,
Orn or thor Glpber 4E, BIG, Def rah DAMGE FE Ho Crncloce

At fr fe ( Ptrere Gf PEL, Ly DF de - Pyaker (39 6).

& L3G. 8. Fa

Lo Mes 2b bac
for Oocs Cheges . (27, 1 06-10, [td De Ha. at; &

t
Orr ste PAL SC OP Or DL “G3 a oF

J fe Seve T of Mos York Co dA 8 Liles) P Megu eos heres hibe
(yore 7) Cesing Jur set hora) decks, Urol CA te

Abate @,
Due- frvcess right of LV C3 RP

Ao,) Pla APF opvestec for Dn rte. JPessley a Aes Ke
Lie fo fhe ele aly Of S2jr5 MSF OE of pa fee Port CLF UA
wer ented 7-05 sty woy favre Coorthet &CF4 KT Ir~S OF

h ssue rg FP or Veyee fli

Leenty WES ConcolvCcted

[ Pes. pow)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 5 of 95

aN) Ptte-dse 39th Bake PM, fabAi tel Gt POS Yara yee

PESTS &  fYtaPing p Klas akg Ne Shag pro Ans, 44 Ae

Atanas ot Pressly, whi Pesvifea J~ 6 OFC Jacket en on

Fressteg, Chi\n~ Goren, UL fle C- face Ak; Stl Yord, br Ore Sour

S4ftebe~ ff, A/e,

Da) Doras [VIC EM Vt-/ td SPEEA hey, 4s ADS 48 mony
Liovtl be  payrde prelate (es Called for bef edat
tester ft5 iby L # Ae bio fe ree te Pord [400 AILS OSyec hey

RSs BG Ker lr thim~g TA Put 2 PO3 bye og as “ Pe Br-clen “5 Knee
fei bechted fet. yt rh. (See Exbrt E)

2 3-)

Dthedet Pe Cv lkck, Corcutted fre Alerms Brod Se lerey

a golly MSP Shon fo- all Chages ard syrfoSed He. Kfarns

Dar choes | /2e Dwys Shy, JP» L¥y§ joss OF PKGEY /2e Deys ASS oF
Com Beg ef Day ¢ Joss OF Phang [Mores

4) Ur 1- ¢buit Defe dag

< Li radutfed ko Fy,
itexng acd fal (Ue phe ° C- ZZ
owe A I ve Ag OF CA

age S ? (O7 CH - S06. 70.

/ 72. do $B //a. PL wk 7

¢ A Dig Kteplocx C Atre; nthe £e) VEE
USSVec. ba vr bhot Pb dbe- 50, 2
2

o(4 & Tt ZF ferrrs Ae €
At Ja Le

Chags wt 64/3, 22 70 b (22 po, « Jb Deg
Ki Lo Fee Ay LAS J oro S4N

( be five)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 6 of 95

75 Nn
Or Ks / Cy

Cert itv ber 2% P04 Tames O' harme Dery
Comon’s sione~ bf J»0€S / fefesid HC Carlech GY iy

oF PoSitie aed ex; Aged Per AUB frop Peg rh fe ft Card,

based of # wx Chalet gL (Re PE sSl4y CXL (74 Avy Peslimey,
(Se Exszme KJ
Mr or thw bbb 22 oly bE GPX mately Yio Pom
Dilirder Corrtebia ofbtir Paecek 4b fee wo im bite
po" hyp pe ser “7% A5 fee Crk £ sree Your bu5/e,
on ot Yor bxekieg “ LIPS nt 5 fee Ges tert, kitty /2 OC Kg Ars
1 Ps Sewcrnves, ae [Xb ~ PVE.

22.) JA ¥i x Lf “4s Abused! Jr fre SH OF SPCF, Jo LA.

fLtP bv BU lg fap fer Cell 0 fe C- est Unt4

J) li NE AS prSide AR Cen bhar~ FREER Oe POPS,
L904 57. Pl tir LFF ESEOY Ghar Pert sg lavrtry ae
perits}el KK Pecclee eo Shop senay Aerrossiey Aran

of >
PS Pe ede Sater pase Aa Shefea “ VO Gorrs *0 Ger

ourt, Core 64 KP Your Skean-~ ~ bre yon ZA Seog A See

Foa ¢ Cock aight f- fae Shorty, SARS AfL2. VE th bufe Tt

O94) Revewes Fe Forty %n, ot Af WAS Corctectirg SF hu~ #

5 /tanrns dS 7 tk /0 9 Ropers, tem tp fl Srey Yet AEN. FOr Oh Sow a

. a
a TO 4 ve
Je Aorrne Ol Apr 6 CuFt Lt Fite. Se Sz Stk Pee Eat

Jt mse hy bare him gg Sfopeu

Kew, Be. SeKet

[4 it)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 7 of 95

20) Plese p, Ae
fb 1 2; aA Aah shy el, Sor fae 39. x SUBS Sho pAe J ov.
L CT Ce
S Shouse CSOoré GS Lt,
Qe Fo ro?
‘ ~~ Aes q J UfV fa Fron OF &SSQUl rng J? Sunes ohn’

.

bSe Sper Brnugek ay fon ee Shotces, J) ttle? f9eeOlece

DGe fo Pep Fie Aim end frfe AB Pe? oa
ndle be? Oey oe Spreed Ar? bv POR S |

3/1) D
€ GS fere
“y Ae of Cm PUES fir, Yh fed,

D (er A¥F 73 8 KAeferoe
‘ “se2et So p*hhSe Fors Ley LV 200 Fn
bw bh tm.
Ay (Aas eS8e~Ce, (Tarr A¥F tnferel fee Stout ad Defeat #b.
Ske CZy Les LSS & frso( oJ fer UF!’ USEM I /mg az pre oe by 40 [fore -
fie Shower ele I 8 Aupeg ), Fee tee Shot outssle He Shue
Gd Wha Sched Lh Kier CX, F fee SAovrer Bad oy Aas Ao chy Off
Witte «fone, oP AB Pere Uierry OS CPs. Mer tye
ted Peeler fo (rere biol ty /ror~ Ae3 Cpe of witiawae
CXCBe Lie eke Glres5 Lrvé fe dries 0% bes Bok of
Wie 6 hgor
32). Ven bye
5D ve / nw Poff SiS Aen CSloA4¢ of Aece po 47% C8 be
tider Zy
fas MSG, SVS 41S ‘ Sfof Pervee ¢ ASSau th, Au expres tae
filer Of Fh Ber Se fl~. Pee eta La See BS l@aS Jerre
Plex Lit ore Fee Lyy of fee C-LES4 fy Nbr Fe er
fortek bly Ca SIS sopoy wv Pl bm Pyfe€ Lth CH, AV Groped
by Avs brus €fed- by Ler ltée.

( Page sever)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 8 of 95

$3, |
» |e. AE bs Shy tly théraed $4 D4tL edad S94; Syn ole;

bo 8h Fikn Mon pret, PVARBEE ID Kine! dyn der 00 ke

(tip 0% hes Jomibs~ 7 frrrer Pebse® Asus thy Per syy
a

he SUbé fi hohe Aés Ole tlh, énoll  ¢$Ke (Piped whey Cp
: / aChkony

3Y,) . / : , et — ‘4 : .
Synde SEP byt perk, - hes Cora ng we SPeaew 4 Yo

Ghost fh Ai Ve SP€x » SOP fe (Ref ©~ et be By h~ MiB

fnd Fey hi fd peSoled eof Sten Ce MOggeraped ler fp
£0 A enn, ba yf a Your ford O~ SA he Prvr!n Sra. Abas <
re prenk Ye rdle® Syader Pleced Wap we br SPObrt-
CIR Ain fro Pte bar 22 D0/4 - OC S4- 34, 8G,
35.) S¥Y0 der Yrdety # SKOCKRY([4S OL) 3 ptm Yousr
Goms * have Hy Lry He LAPS FUL" ve Ki ause Srl Eo tke
pecsoEl pe piped 6 ROY om Frry her

Cant for Cbnvs
4 rhe Ft SA Ler

fot You, sy FE fort COW 11he
Con dete ao fp ALS Sd 6B. wf? LT Fox Sper os
a 7

a Wol4t <<
Sal AAC MPO Rr AS Exh bee

pad Dh Lo LOE ue o
3b.) f- UO bbur CRbe FO Jo/e, G De frerg

De frteclenr SLC, Go eeley ert Cf 7S Vee Le,

[Meerrmg, i few CMG OF

uy we Fhe hveetHin
O GCSE

tHE Con Creel by
fo Co chy Ce G SUA 2 Dy fbr fet

fie (tpt DCE be ted SEKOY by C&S hare ft,
pela teti Oh 6 Feta FIC

y fF Ss Gr tee ye 4 ; A Kot ws:
" 92 gab. fe Chages bem AS Kit
a

JOC. fo Web “i, -P Joe SS.
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 9of95
JY ign PVE fas AB VEY Glo Pele Spe/ey bre bo
Fee He WB *he AR B He Candbea/ kro Se Ares
leerre ik Wm fle Sluun [Ye'~ AA Weltrel 2 fe (Wale pee
PPro Sr Shs Gawtley, See) plop gy

Fart hd Lhe
Vents jYortt & PePletemt* Podag, ~

44)

4) J Vien SYS pects & RbShe LF fe Acne
Of St eve Khy % Fegs *— Th, Ze bffile Bale
pol Gyn bY teen Nos ape ad Pi Kren DEF adap
Ellis P® /Poule fre 4 SUS file, Utrg frre, ed he
(CFU Sev Lo Corker Py ferte¢ Fibe D3 fo0e! Strjce

Pod ran Sf he % 3/7? Provitrg pre th C&P te
GLY. Sve ke.

vi bs xx Aa YS Fo Of Ji Cntrrsdlre IV
He AP ets

EU, | Mein GF Kiclbsstedl Wh tof A I fl ree -75 Fou hog.
pec ertcts [H~ PACS RPE Ste yc AV EL Sy
[Man AyfFe Grell Feed AesS SS forte ge
Yatg vu fers! sr Cone Corl os kets Cee
ON BLES ct fae FOr Pieced g

[BF ne,
JUSTE SOME pathm 37h ip Pee Shr nee
ne vee r Prete) , Mocks - ects yes

Pt Rv terse, (See Exhibit L) «

Pep. pire)

fors4e I.
2,
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 10 of 95
Yb) >
/ [Gin VF rotice Cre Le faeel
A; 5 bx-§ Sleeve Sh irk Lo by Ads

Ars Vek Paw wes & “hee Hoo bo Mf ng [fer ae

je it fe a Tole » €.

eS SAYS Fi ne aol

M0 Sher real wWhS

——? @
F-  Ptthheyea SAE [Ptr anol
CM bh en

Cole DUNG us PPS frt*, pile ft boned ftw
SCR ¢
SLs Grow See jp py Z “ ~ Pins 4 CUR
cod Exhib/e 4)
Lk)

Tr x buck Ma, Mor B—

CLL, Bod fay Of Pea, a

jeer bo Cudltt © Ce seak oF Pid rE blhcle ety
(one uC#¢ of fr-t4 Séte-ch le berks Vide

is Cant KP Pk
Where jp 754 Defeat Fox wad Cet

CSS 408 YL A ti Dts

tL frnrer- laneer of ft LEA Mielke ad ek fr oo

Lh OMS (hy feeq Yalfed po Lo bake” Ao Ming kere t Cee

Ge fee ° a ju p Ae JA. ~ SU GAE Ae re. Li Fee fr"

{lo Dts Gao! fan SQ)A~ be for 4 GCF fe/’S Lei Av,

fotte Sei) fre bypovght rs OST how OF (heA 4d
Wy, * , ~ 99/4 Narhyt Seektel fo
CY) lL tf GbAge Hover be ag. Pole (Carn s

LA bi 1 Derek) foe, Ett, [lobU4s, 4
GG tel fe Shu sll- yer ae De
bhidlby, or efee PYel~ wth Pe pee UP fF Si 30 Mee wie SK; Like.
‘ "2p iy LSC JQs ORG fo hte Aus Loss
« f/o Note Sa. 7 S$ 4 P2075 Seat ie
‘ . 2-05 Hl. Shore DM 4 ttt HGS CGCE

Prow he Hs é

re SCS aS: P26, 5
5 7 of pw Ltr ore At Do tKY i ,
pte 00ey*g Greaere foes bh

a Wes GW Shue S405 47 £6 DE Fs - Per LL
Aa ft a oo
7 : : .

[Pry FRAES S$ Ce VSG Aes re Br Ke.

[peg Fer
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 11 of 95

Yo.) Hose, Found PLACE go by OW Sze SElord. eat J unDosecl
Te Plo Wing S4aacHons > Sty yy Commencey Lanjony 23, D207
(EU OF Jo30. Coss 0F FREES Mare Je 720 (ray lo, ash
Marte 36, any May 1, 86 20. {Mar AFF rgd ox hj ecto.
fo fr Creness Cel Cvrelmae ph ee Seeking aol
Jiggy shea” he Us tin thong tare Ponce te

: ; . OFA. 0S 7" 19 ne
Contiusiy~ OL fia. 4thrs % Cele Te

[kerfre, (ol Lvl ’tCewe CH kre Cee —
Pm fe new oy Korg “AM & rte dey! [V4 PFA

Tver flCe/ fet pe Wres A~&rts pohce erm:

Yi.) Par bee 0M CeceNel fre pact et Gb on,
[ éim BEE Fila bo Sr Gpresl A Nects (Camm /s5 Sone

enice, ~Puyver & Pete Pre CPSs be or thoit Tinu ey

OF x30. Seay- )D, tre? cay DCE POG Sry Ltipind B
(LVL Std Atle an - edge? MF SV fi'omy Gi.-cl CX Ongeo
Gil retere-ces frerm D2 CoA S) 2~ SHURA 2 6 [tC ore,

79) Oh o but Ylhber 3b, PPG Plier Afh tx Pew!

C5 Cee ly Of fe St f, @ftrd & Aterrig bihsle #F
Tr Agcy Defeece pe 6 trterts Plat. INE Cell

f thoy " ' ; ;
OEE Cry Cu tlort Coble fm @ SHA DePuty of Sturt,
oy— ary (egal Fer olog ica! LEG S10 fe yn Serats& oF Sys FOP C4 Au, .
Lite Ylacto Shar ford facility Aotr brs Trat war Chere
jo 6 j e-~Str-ous Zong trrink tt He [teal Ls of Pts Yorg

Dtien Ht ee an "Gege Pecan (5% Ephibjt H)

/ Pig. Kl eve~)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 12 of 95
31 Ha ckes Conducted fe Acai GA) Lertily ph INGO Cse 5

. . ~ ce y YY r . fe, . zt
tet fe Contiows (Ve typ re SHA Hockes Spates” ps pe,
Yoo olor PRSed fhe on fo hht mb te Fim fore
a
fo G tf pow he Tense bE ys I Lh, Yo I 4 fir fhe forek
bv & Ow Ae, bd | fbi FR EA S414 Line LN EROS yor COR, ble
Ar tren sler or oe betre, 50 ZA Kelfory YOu Ove ber You
3 freS0Av hve, EE ure yes Ye7 Clty Zo (Cottle Aer e 8
Ye. 509 FG. Ge fe Kaew Or B,% hor GES Fev F
"SY y (ban BYP races & (Py OF ZAI MSP Soy ZF fe
Mts - rece a~ Lx freg Creek Gir PY JP Mbes
DOLE IS JE Hoobs 5 Sn? of Lu,
(ALS PS Lihok PUM. EB Pe deicdl FE CP GPF La
Potts SM pyrecke FMC 7? VERE xo Ges Shy hed “OK,
Sk bey (46 bappect Se Re KE

Fey Ven hy yrewed Ke as se,
J KASS VTL Licteo OF facie f OF Cb
IY PMG G, P8000 Px Yb ftelee gw SV¥kecrrs, fee woes

Pay re / . ; :
OnAttl (CPLK gy aesed (Ye, tye CU WEF Jt dry,
al The CxChanr yt 4 aoe jp taf Z —
- i ee rvs PrelI nth {Ue Tonal, Bon, Seen
BIKING | enrol De a Le yk . -
3 g a Va 4¥¥P 7 2 Ve 3-2 > te Pe é, 48, Lol re Ay “es Ay hg
Q Lyfe. "§ 75s C- Cc (Binet S&p; as
SuUpsHAe  L35 Core ey cons a OP PU F5  eSCom
s .
jr U- Ce Piro TON UACS, fe VMS em fF CO J FILLES
bot fare ) Yo wate PVE Tk CKIF pee Show ancl My
L ft . {RE Vek Ur ofé- 7 Ne CES fit ve cor, fat fae

(SCorF Fi fre Showte ed fee Slmmiyy yf PHA AFF)

cr Gt sf eo for fev. POW AS or~, CSF Conc Cw Orb ore’
pe fhe me hifel Pott Of bbs CIS*HF Bao feb-rtapens
fioeles beni ae PCO BLE F205 by fKreS 3,

(P GG Thrltve)

‘ a no
rac fF r,
Case 1:22-cv-00506-LJV-UGF7.Dociithent IF Filed 06/29/22 Page 13 of 95
|Z © Sfater’e dL Of Cléiin<

t [ibe dele Noete, [Aah As Wi Jrlerm BEF t= Sars
A5 PEA WI Hodes Mrydep RL SOYA UME PUesuyes
(3%, yey g ltt Lorvtecdt pote Dea B rd fp ha LySe Core

Sr LPO 3}

Sb) DL @a. #5, © 4 bes Fl Or Brrhef, doe te He
ASS eee j uw CAS A _% Shel t+ Love

Kee peejeo tte Pn p~ A YF
/ .
Cet Atg Pecrg plenty O— KO) Wore a fo (be J+ ere
OF 2ogn relay tplaée Lf (2bern OYFE LOG SR EMG OT free
Sir) 1 fted 0 a4 0 fydicad (1G10( fav FF A Cs, OHH,
Pletsrg PC er L oe, os/ari'-s boy be -be45, Cee, 7Bsg B ele,
Prod & bor, jos Avec Yeu Kem 5730 fan LR SIG Ce aie
@Seisd aoc, cnels Log) Spey 6 87 te a fo fet
se Debit, fae POLS Bahan gig gM Ban,

Sf ei fing: jn eC} /
“e \ ~ gy She fs 4 oe
5B) /) t. f= % “ We Ae Ae. he Shield ode AP pve FuMf, ” rhe

eden $&/ beLT Aili ION REA, LWolated £L1°/Sé 4
Lit, fox } Pus os fhe fe U5, @SKitin, 7
SP Perce [°C AME peitass bftle
Efpwrered? Cfep PUREE phar Hk , J a
. Shad Revek ge CEO LIA GAY gp JO
5 De foe a ek Str
€. On Le, J/o=

it, bbe sl Or hek beply nba og

q uv Ly . : %
oe te See Less Len, a0 Of 7 werner [It rtey fed! S =

COP (MECR Bbe ins OTE OE FF thy Lar fe os Sian

"b)/ cete,. % / Lh ar = y
" “ an z a Ow 3 . 5
OLECHE (Opcht 4 Bae PF EN
/ ho-é 4 OPfOMKPYE. 7g Gv AA
® [See cts & Dp gos 4% > «
ee C.-~> 37 “oS eA, AS e%o, OCb-G f
tad $e Oo Mey ce oot “~— _.

Co,
7 ISLA) 5 [lo bg,
40/9, Fa suns, . 7 - Corts FL & by x
hea fr aot i Te oy Se ZG . F - WAL Pn on PON oe wy
3 YP SIS & Jae RO. Caner pool Le Bowne fat
Case 1:22-cv-00506-LJV-LGF Document1_ Filed 06/29/2 Page 14 of 95

z z 24) ° / PQorae— JS pres
Su) fe d= 46/ fou , Denial wf SHV 4), ATi a5 ee
Dt) 4), : | o« es for 54% Fe Cope tl 9— Crow L849 ]

[PRere Cay fark Fert. Lo $ Bb cel a
| ( yo imtid pearl O8/Po1rt, We *7OK Ca B Se°'Gz

Fram 01— o-7 (017 paca, ABM <typ ohar AdSeer aye
boDehude Gl 1k | EES go ped rage OE HL ISS

Do Pre cred a C4 Prot
Five ft nw, Se Corns al’ Ww

bl.) Def tcl fel Noherks + Cail SeeCh Vm MPV bL— Of Da lh, wrFer

7 om tv ho yhth i Gfe Geto € Peleg ly bap f- © Pose wz

be nM tte CL, j 160 iN (7oieb, BL AP] Ia an OZ a Soe
huerte Sekine i Pe byow 12° pecker Mer Pe LUG} Of AK
pi feclor (6! Mite Leek 6 she BMF Ile Lad 19°77 7
“ ao

. os adenpy f/~mare fF¥t ~
CA Ferdets/ Ime CM oth. Arbitry “Lec foc ~~ Pt-§ OO fur PERS
cstey ening co Herth 1S OT lta Wa space
[HIANE id rob Cot Goby teh SE ie 0 VO wt CAL ORG OE TE OOK Siig
G5) de Peace He/ AGE 5 Frbrhang ho bare © Goith MARIE OF Les
Cb at f2P7 Be bre Kertd Fra LES Finnie) sip Sle FO]

eT . - 7 Fave O62
OWS (egecty ot Phe 3 PeSthe~ Errors, terse fk OMS bolt jie yg cede 7 ene
CHUA ace 45) foo! P]edbeie¢ Skee tay Tbh />o c Con ue Os

Bolle G00 SUES OME), Ce Be Pgh C0 3 , FOTO La
OU HS wed jipond Meg parcel eh tala f iB fA G3! Cay ieehiyon
J UMemAEE £90) PH gy LLP fb Irek [li shhisj 00S tao eo oe [a~ & YOCK O- /
; a ee 7p Lave & rte Lan fee
CWileda rl S¥kocles, (My AWS gp Con Co~SOgeop +)
Le prePorttte, 4 PPREALLE), ea > la p~L{G’ 6 (CLE Co apne
ALC LSS LOS mitts to BEE Ro teet” Plapditth Peco ¢ Seut
oh bth orden AS | RRM Pots Mahe, bool cures
so) © 0. a1sley ~ 22 Plier
icy FAbirts EE Cub pre nte [IOS , a sh ee :
flosS essed & teen, Arp ro pean 0 go

ind He Eupugert KR we he Mer, dee be emegulerees
: , SY a

: Can-dhser h- peal paves 17 G4 frorr frere- are S
$ 9b: Baler AFES CPA GS Foren ur SG “ele

. pe [VBIG :
Dre SPP a7 we Lge ky S44 I$ tke Lr é.ct (.c2o Se GY KOoclead,
eyand ree ag lity 7

ed Le § PP SY UB Le
‘ / /
bp fs US. Contre,

Pred pet JO Gods / [ey 3bF

[ (ey Pirfec~)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 15 of 95

Vo yhiye be Mi
[SH EKE Poth, (Ho BF Spee 3 ee Ae Pe“ th ot Pepoy of

LPL A 06.
few Jollo a

(4 | Firse Cont, Gude Af em 5 F DCherde fs Kol ye,
oy OF wh /

[> bbc ns a te Sak, fate OF 4 92. Jar
Co hinnt k bag “tre Core AOS hbarg Semeses 4G bry 4s

Kens Ms45 he Sw of (2 TT) Koos. Jon - fr Jy llher
ob Lla-5 2 S00, 00,00,

C b) Secones lomti Tile y
soe JOPLF CG Of LL. DIHhie (5 7
j Gs LTOCIIEF (LS. Corse fa

ol fa iL.
Flirt fran A &- / Ch CHE c Ve, My LO MAT € Aarts B

/ FAL ed. Rnebte °

(3 [bevel ConA Tcl per Cyermst 1 We 1B! FE Loi 45 Wed Yo
Stet OO AS pias Gort Ca ey, Ades, x fy? PE THe seliy)
Co mf Bohry lee 5 BO Re hezes, Clg br hn

Fut Ohe Ayee as Grd Coup cera DY ES Lap
| tr

JM 5 freeroll Show ltfeL

by: Ake uric
Afar

Dk re 2b, #22 3
DoS j J04 Farkit
prolog ANY [24D >,

[ PosK Fourteen JS
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 16 of 95
— tkola& OF 16,0. (%EA(S _ .
The Ujolo Hen (6 US. (0626) Le gcgy en,

lperterte of | whens fo jn
of fle Csf / 4 lon bes) i fle

baterPrise 4
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 17 of 95

Exhibit

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 18 of 95

STATE OF NEW YORK)

Ii ¥ OF CLINTON)ss ot
AKO. Ks. BURRELL being duly sworn, deposes and. says:

That Iam the person named herein and make this affidavit of. Service to establish
service upon the below named parties pertaining to CERTIFICATE OF READINESS FOR. TRIAL
ina ‘sealed’ erivelope and placed in a U.S. postal box ¢ located at Clinton Corr. Fac,

Box 2001, Dannemora, New York 12929, and served upon the below named paresee.. “.

HON. RICHARD E. SISE
ROBERT ABRAMS BUILDING
FOR LAW AND JUSTICE
BOX 7344,CAPITOL STATION
ALBANY, NEW YORK 12224

\ _7 | eee
Sworn to before me this
Defapay of_M7A7 22020

OL ALS

»<, JOHN ANDREW FARRELL
~ Notary Public, State of New York
No. O1FAG381949

Qualified in Clinton County
mmission Expires 10/15/20 “A= ao

ys

ogg, eet coho ~
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 19 of 95

STATE OF NEW YORK: COURT OF CLAIMS
2 Claimant. Claim No AD LULA / SH 9
HON.RICHARD E.SISE
-Vs-

THE STATE OF NEW YORK,

(PURSUANT TO C.P.L.R. 3402;N.Y. COMP .CODES R & REGS. TIT. 22§206. 12)

CALENDAR NO. 20/7 - 2020
CLAIM NO.4A3 YO/8 % YBV/IOY
NEW YORK STATE COURT OF CLAIMS

DATE CLAIM FILED: //-92-/9.¢. /220%-/9
DATE CLAIM SERVED: /2)-26- /9_~ O/-07- 20
DATE ISSUED JOINED:_O0/ -/S- 20 4 6/--V-4o

o Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 20 of 95

SPATE OF NEW. YORK. COURT OF CLAIMS

AKO K. BURRELL,

Claimant

THE STATE OF NEW YORK,
. Defendant.

PURSUANT to C.P.L.R. 3402; N.¥. Comp. Codes R & Regs. Tit 22 §206. 12

CERTIFICATE OF READINESS FOR TRIAL

-.

1.-All proceedings served and filed Complete
2. bill of particulars served and filed. Complete Neg
3. physical examinations completed. Waived
4, medical reports filed and exchanged Not Required
5. expert reports filed and exchanged Complete

"6. discovery proceedings now known to be necessary to be completed.
7. there are no outstanding requests Not Required

8. there has been a reasonable opportunity to compete the foregoing proceedings.
*y Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 21 of 95

9. ‘there, has been compliance: with any order issued purstiant to section 206. Lo, of this part
10. eppottunity for disclosure has‘ been had not -exploited. / fake
ll. the action is ready for trial.

Dated: May. 2h , 2020

Demand Jury Trial

AKO BURRELL. #1782994

‘oumecen N.Y. 12929

Sworn to before me this

dilipay of _j“ AA _,2020

filed”

J worney

JOHN ANDREW FARRELL
Notary Public, State of New York
No. 01FA6381949
Qualified in Clinton County
Commission Expires 10/15/20

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 22 of 95

STATE. OF NEW YORK)
COUNTY OF CLINTON)ss.3- he
AKO BURRELL, being duly sworn, deposes and says that he is the Claimant in the within pro-

ceeding; that he has read the foregoing ¢ CERTIFICATE oF "READINESS FOR TRIAL and knows the
contents thereof; that the same is true to ‘his knowledge, except as to the matters allege
therein on information and belief and that as to those matters he believes them to bi

‘true.

Clinton Corr. Fac.
P.O.BOX 2001
Dannemora ,N.¥.12929

Sworn to before me this

2 jfmay of Mts ,2020
Lad
NOTARY

JOHN ANDREW FARRELL
Notary Public, State of New York
No. 01FA6381949
Qualified.in Clinton County
Commission Expires 10/15/20

Case 1:22-cv-00506-LJV-LGF Document 1 Filed 06/29/22

Exhibit

Page 23 of 95
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 24 of 95

k wy 7665 8-19 A) CE, 0, Box 1
Xx Nice i A Y LY olf-4
29 hoke iM 2-/e

RECEIvep

NOV 29 2019
ATTICA
/ SUPER Ee ORR. Faciurry
Spinal to cert ENDENT'S S OF Rigg

Dear fod,
LE Aayre G fr “ge AS fen ch ae he HAG - (OSs, The.

Sth Shit ge chycy ny Yh a facta ry Fh Zoxp
Vou Ih fam Jpenr Ah, ap 7 WG Aave “AR fern,
UNS, Z

(welled by fay fie,

hand Uke 2 Cy 1 My (el joint
Case 1:22-cv-00506-LJV-LGF Document1_ Filed 06/29/22 Pale BOBBLE LL #
1B A9Y

f 6459.1 9 ACF, RO. Bok 40
(oC RB ca- 14

date: 10° 2Y- /4

T lke

Ne! Cirieverce | Cob& 4
Tp haw it (enemy

_/ larif, Because S9t Syader fete PLE 6r— Cy

Keffiva tion of SUK, i L224/ th 0 hor OF pe “leg L fit Car Me igl
On Wfricer Retdlek, Sah Syroles, Failed 10 Provide leoodl CatSt bihyy Z

W305 Plate! or fh’s Oder SH Syrcly fore i 7 Fon otf on y CEA Complay
pe wil Sgn. OF on fy Srowe- De fViton,

Molo for ‘ a ’ Ys, / iL! aj
‘ 2 pod (iKe ff Dif ahian Order for y
Showers to be Uifhed, EB a wwel kx any form— OF
eA allatio to be Pt8/shed by PA SOF, Sfler,
ASC ghit2 MNGOSOBKL: SUPARGMENT DOCORREGTIONS ANT ROMMENIG/SUPERYISION, 96 of ma Lew

FORM 2131E (9/12
INMATE GRIEVANCE COMPLAINT
ple No. 9
Abb Ca CORRECTIONAL FACILITY
Date:

4) f Aah 2 /

Name: AKO Ki LAr lf Dept. No.: /T6b 2594 Housing Unit: RE —CEAY
Program: AM PM

This form must be filed within 21 calendar days of Grievance Incident)*

Lo have bean Aelel 6&2 Dhouser

(Please Print or Type -

Description of Problem: (Please make as brief as possible)

be (avo Bow Devore! Pre (20 Ure 7 ois Lhhk . AEL Cer Morton,

Salta u afi LLEDAD Vas Aire f ress 9 Showers Je Nirechye.

45% 3 Sha eg f Wek prl(SS_G renewal: 0 Llrsaial (1la§ mace,
ths erent AGS prode [x Sel off G Pn phic ofr ta bon oF Nee Live.

YG AS, by th fS GAC Z Al SUfaZsati 4 Zismate Ate Ma pilool,

E nn’ induce prot ore pfeufed, hk Lud gk fpeery COG
fos? LekE Car, Vit. A A x Berg G REGE' Ween |
Grievant
Signature: ko Lig @PE LL” yore 2n4a
Grievance Clerk: » Date: —pHCAL Orn. - rahe
=== ra TE GRI \E Xue
LINo Who: INMA

Advisor Requested

eevee Sfx SPraeer Defive Alen. Orne
Parclut tv LS prll €8 Gx. sarrd/4 » Ke. Cee

. . —
Action requested by inmate: __.4—
Berea / Le
7 HO ¥ —, - ‘
é) f JLo Nhe rs Sef fade Ps Yo a Lion oD WI

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Date:

Grievant
Signature:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 27 of

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE GRIEVANCE COMPLAINT

Grievance No.

AY
wus depnvateon 76457-19
Afics order copes

CORRECTIONAL FACILITY
Date: [b-1-19
Name: fe (Avrre i Dept. No.: [J& O99 7 Housing Unit: EE-CE- [7

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief.as possible) The SH Uv Suler i Sp fy S » L0FUS SZ

fo Fonisk fe Debra Hox opel ¢ Cell Pi pyar ME
[boy bad 24 lee A Amish PASS Oo Comet) A Love

—

Vel do oe st

t

Grievant

Signature: Ais fa a

Grievance Clerk: Za fee Date:
SF A NO Who:
Og” Al | LiCA CUOHH. rAGiILiTy

Action requestegegnfrate: Zz (word of [/ A € (oft £8 O oib gre VG BDA
Orley, B Ce Shyill Orel,

NOV 04 2019

Advisor Requested

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
“<> Henit maw he requested under Directive #4040, section 701.6(g).
7 6 & 5 7 SHY! 22-cv-00506-LIV-LGF Document 1 Filed 06/29/22 Page 28 of 95

FORM 2131E (REVERSE) (9/12)
oe of IGRC: Grievance is DENIED.

Per Set. F... Geievant has ben ies of the deprivation orders.:
Per. Directive #4040 §701.5 BC) Oia) hag oe grievance was earl in absentia because grievant was in the
SHU/Long, Tent Keep Lock.

NOV13 2 Fy 7 /
3 2019 A A fs | A ff
Date Returned to Inmate: IGRC Members: i OAK AO ag ~ Se L

monk WIA ae NY Wp —=

Return within 7 calesdar days and check appropriate boxes.* (
[| | disagree with IGRC response and wish to [-] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
L] agree with the IGRC response and wish to LI apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date

To be completed by Grievance Clerk.

Grievance Appeated to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

UV
teres aun aul oO} yoydeo% *

* An exception to the time limit may be ree~ © , ae
y

Case 1:22-cv-00506-LJV-LGF _Documenti Filed 06/29/22 Page 29°0f 7) be

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE GRIEVANCE COMPLAINT

62°27 No.

(ni CL DNCASAS 7082019

4, Hila CORRECTIONAL FACILITY
. Date: /7-/6-/7
Name: ip. &Z V/Tell Dept. No.: “742974 _ Housing Unit: 4 - /8-07
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as. brief as possible) —~ ZL” WEB srfeSaol WiLL Kk Cf lO Sf SDS on
OX JONTAY EF vies fre- Heasiry Contittd he fhe SH bi (0-159, feysvant
to Direchive. HFBS) BONE Leatlck Admissjopl€)"blher Keple® Sanction 1% Lmbostd £15
Served in G SH Cet, Servite of fe Savction wil be Created) Of fre cafe of Poree days Per Wery

fun Says Served! jr the SH Coys’ Tentiry OF Seved pry Oo cay Kewlobs Asbosbon, fpr
te gay Sth e’spositen, We (0-30-47 feceived b YS SH obsposor, The Lela DX

15 Lialessbaly Loni ning ors, AE p48 (least! from fhe SH or fb fEL4 SZ Shou fl have
A SHy cela date oF 9-17-19. Md Skat hors bre pis Comtoted.

Grievant A lf R E C EIVED

Signature:

Grievance Clerk: “4 Je Date: DEC 17 2019
. i ao OUTS

LINO Who: ATTICA CORR. FACILITY
INMATE GRIEVANCE

te:_ Zo porte Seo es Ay be (efeased fi KCC JOCK

Advisor Requested

: Action requested b

SS AN Lely ately he wy MLS L 44. Ae i Cirocea Bij, B EB LAL 72 prlewikl
_ Conf ipemend

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant

Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
2
/ 6 8 é Qed Goo. -cv-00506-LJV-LGF Documenti1_ Filed 06/29/22 Page 30 of 95
FORM 2131E (REVERSE) (9/12)

Response of IGRC: Grievance is DISMISSED & CLOSSED.

Per Directive #4040 §701.5 (b)(4)(i)(a) ‘The IGRC may dismiss and close a grievame after a hearing if it
detennines, by majority vote (3 of 4) that the grievant is seeking a decision or an appeal of a decision otherwise
attainable through the established procedures for disciplinary and time allowance committee
1 fee Piretive #4040 §701.5 (b)(2)(ii)(a) this grievance was heard in absentia because the grievant is in S/o

em

AF \ : VA

| “
Return within 7 A, days and check appropriate boxes.* ;
Cy disagree with IGRC response and wish to [-] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[-] | agree with the IGRC response and wish to [_] | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 310
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANC| ty
Nunes whi ¢ | 7678F
| CQ CORRECTIONAL FACILITY

Date: (2 -OY -/ Y
Name: H Dore | Dept. No.: (74 2°97 Housing Unit: JIB-CE-(Y

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) 39 4 PX, Ltpeentad fre. JO%A LL tic,

drral gp Mmedliiiieten ce meee ye Mw, J sc iPlirnary S cat thon, Battie Wry
‘ f % ‘ pS

ag J/g {_ Aw 3 ti a my \ 4 f “

fre a fp tose Ce Fee /D-O9G-/Y ZO bsey SGA Lrteorred Lyi SOA

t }

Ne

. ‘ ‘ a f

fon dort aoe fA. ould L qe. (2 ie Atal Prous +4 Drs SH Lida LD OF 7 G :
LZ Packea_@i| ey tok, fs os Posed p€ fray Arkr pt

lous Informa F- histd Mok Ae fea. “- (ee SHY,

Grievant 4 eee — RECEIVED
Signature: Al. sper .-

Grievance Clerk:

1
I
Date: ___ ATTICA CORR, FACILITY
INMATE GRIEVANCE

10 Who: _.
: twoujed /yke GG  Flis Ss of Whips
be [0 vOVtE Prone. Apne SA AS,

Advisor Requested

Action requested

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701 .6(g).
7 6 7 8 L sed 90 cv-00506-LV-LGE Document 1 Filed 06/29/22 Page 32 of 95
FORM 2131E (REVERSE) (9/12)

Response of IGRC: Grievance is DENIED
Per Sgt. F...he did inform the grievant that 12/9/19 would be his last day in SHU, meaning he would be released
fron SHU on 12/10/19 and grievant was released fran SHU on 12/10/19. Grievant elected to throw out his whites in the
e by his ow accord and there is a policy for replacanent. Grievant can request for the items from state shop and
if he is not due for an issue he can fill out a disbursement for voluntary restitution for the items he threw out.
1 Bex Tirective #4040 §701.5 (b)(2)(4i)(a) this grievance was heard in absentia because the grievant is in SH/Long
em .

yp >< . F
Date Returned to Inmate:YEC } 8 2018 IGRC Members: ; 7 §C St

4 GO
onaiper Le NN
2 EF

c~ (
Return vn yet days and check appropriate boxes.*
L_] I disagree with |GRC response and wish to L_] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[| i agree with the IGRC response and wish to [1] | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date
To be completed by Grievance Clerk.
Grievance Appealed to the Superintendent:
Date
Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
FORM 21316 (@MBASE SBR OF-DOSOTK INENAGIMEN TID CORRET ONS ANP BOyoyPERBEGS
INMATE en Pon BZ2""Page 33 of 95

Grievance No.

eeloek tre tap |__76458-19

Tt Ca CORRECTIONAL FACILITY
Date:_“ O- 3 [ <7
Name: A. Burra Dept. No.: Tb 2. 04 Housing Unit: LE - CEWLY
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) 283 bbafe € proensh f Comb tated pay’
lise Alnny Sore Hene OX 10-17-19, @ Sis Reipjan ols Cclartel of 28 le keep bck

B ete., Ay ie CAL Sel, £ FL! ne Ste Aime ot the fs ths a ‘Sfos Lian WES
[persed ber fore Porsutat yo i ect VE HGS A | 30l- 6), LZ Completed PAs
l/s Poston. on. _o-3/ “U4 Ved, joy petord Letlec48 ¢ » Keeblook& Raab ae
date pl 12:44 e |-03-%, Ips iS STO re Shy Plated. (yp f0-227U4, pares fe.

fe vj evel GQ Ser (hort, Abo held we fx pte S. HAL /re- - Neier ong Coelek Aree

See }bge 7
Grievant / 7 (2, Y mE pee y
Signature: _/— i RECEIVED
—= ith ee ee hee
Grievance Clerk: oat Date: iat fb Anta
Z NOV-O4 2619
Advisor Requested LINO Who: ATTICA CORA FACILITY
Myr GRIEVANC
Action requested mate: 2 LSK- fp JO l7-l¢_ KeeplokK al S07 ADA, Crniied ,

(Ny [O- 3 ~14 Nt Ars/ Hor, he CECH El + “Led pyre hsccing Ce AL ene pik At- EC Cpe
io r dd- [¢_ #2 [0-3 AG, Gad Z SEENE Cahy Ee ALas Corel my ',,

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
FORM 2131E (ase 1: @ Pata CONN Gekd VeERRTMEROCUDErctondaihecbOM2RAR2surPRa@os4 ofese O48
INMATE GRIEVANCE COMPLAINT

Be GU lgts 7651219

Ay LCG CORRECTIONAL FACILITY
Date:_//-07-/7
Name: ZL Ly AV (/ Dept. No.: | 182, 9¥ Housing Unit: KB CES
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) aw 2 Shu. 1 ce ss Sof Fox Kobe

yn CTury 4 Pe: Z de A Elle iS, He Ve ture d $f Lights OF Le fi iZ CHL ZB Aa

[pe eased be he fer _Press, ye, TG por L wot Sarts From fog
Sink /pto fry bight, Lbew reguested the Ce/ He ght Leg Ligh ks
Lox tutired bys 3 Littl fee Pree 7A dt one Ars /s sy, fi E, C4

\ _ og - af ' f.. Z
[Pe from dd dlng my Legal bjork ppaCvas books, Bec. ul g, A LWA LG

. J f UJ J J
ethers.
Grievant /) fh na
Signature: 7 F« [AL RR EC = i ra >
a Mais i iy Ld

Af FF a

Grievance Clerk: —§ _~ Li Date: -
EDone’ OCT Us 2g

Advisor Requested TE ae

ATTICA CoRR.

ate: eee the Night Ui Gh fs INMATE @RIGVANGE Lf. Lh
© band acd Bo Mer LA tie € ally ho 4 op fuy ss al Or=; Sas Zz Can WANT “4
CF @Blenad & Re Let f be 3 z [si fr dnach Le {J rer Pa, Cra Ag. turn

al oiayor
The Grievance has been formally resolved as follows:

a

LA)

Action requested by j

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: > Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
*An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Filed 06/29/22 Page 35 of 95

. - Document 1
FORM 2131Ka5¢ 1: 2 26 Q0R06- ban L Sears OF CORRECTIONS AND COMMUNITY SUPERVISION .
INMATE GRIEVANCE COMPLAINT Kibe

Grievance No.
} "1450-19
CORRECTIONAL FACILITY
Date: /0- 40 -/9

, LO" 50-/F
Name: 4 ‘ Aun 2.(( Dept. No.: LA 999 Housing Unit: [EB - Cé VY

Program: AM
ee

Description of Problem: (Please make as brief as Possible)

[paipe

fixe shea (S REFS irq Wee
| fence fp, |

[
A} \

Grievant
Signature:

f 0), ; GLE. Combo Led,
aS) Let, Yrhen, Nase Ak, leobert,
g C fo 4 * tesbived 4g fol owe °

a ve

The Grieva has been formall
This Informal Resolution is accepted:

(To be completed only if resolved Prior to hearing)

Grievant
Signature: Date:

e

eg

FOR## 2131E enses® Tee e BOO RE ESE en ONES tons Filed, 06(72/72 rcs PRGS 3 6 of 95.

INMATE GRIEVANCE COMPLAINT

sof Howat 76505 21%

4 +H) CQ CORRECTIONAL FACILITY
pate: [6 - 3/77
Name: if ‘ ure (" Dept. No.:_/ 74 2444 Housing Unit: cB ~-CE~LY

Program: __ AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) Sot Foy, Al. d We. ZL Zz oliel Aor
| VJ
di Oe Sexual @sualt (Pres ComPla link, A gaenSt Ofhrr Petdleke
Heat fo wil At the Cet Ae[l We ‘nue Celt clot?

spree 4, QL RECEIVED
Grievance Clerk: ZEA” Date: NOV 06 2019
Advisor Reque ARES Oo Who: “iar ane no TY
Action requested by inmate 209K far fAS Sat Ho Shof fit talic tng
CG 0iSt pe, § fave fe Cell Weld.

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Documenti1 — Filed 06/29/22 Page 3 37 of 95
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERV!

INMATE GRIEVANCE erg

COSE-YY si Ttcmont} 7 EROHRES

4 Hica CORRECTIONAL FACILITY
Date: /O- 3/-77
Name: A. Lurrell Dept. No: /78277Y _ tHousing Unit; 5-19
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) _/)/ficer Melee, katerec! my Cell on.
10-30-19, Herted & Sharh bhyect fast bis ashe Po ipd-tel Z
[ikespenie ol the hte Seatser My Ce Srrepf[td of L[AoL fb
A SKY SUL8 fine, Z Cndersd I flay COU Ger CG Pea rypg
B Aokichd flay Ce re ol Sa MG Zo mreg Liabeliy JA shea Zool
Th Caf, EF Aurel Lo Spin Ral te) 00d L~ tbe Conrad, Plea Pose eX

TAIs_ [dts Ga hah ah ot KA G shu mel Bice Len Wes H Lest Lean LN
gel FSS CAIs 6Oject, to prof Fae (Ua. EShous
IY lit A Bot WS tithe ta Einan, TOMES RE Hie

NOV 06 2019
Grievance Clerk: fe ge Date:
Z ATTICA CORR: FACILITY
Advisor Requeste: Who: INMATE GRIEVANCE

Action requesté AA blest Off Cer- LR L Vigil £ Lok Cr Lo Mi,
Poseated, LE Corstiatty Lancs te, hf “dren kesh #4

Sehpiehy Heap. Jake PAs Pty, We Zan babnalle Canteshly Z tour.
Ay jm (phe Win Por, belore J Llushadt ls

The Grievance has been formaily resolved as Lioikd

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

_ If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 38 of 95 ©

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE CRIEVANE COMPLAINT
A 2 Grievance No.
rend 767 03-1 g

KH Ly Cq bokEoa FACILITY

ir ws .
Date: //- 4 7

Name: ft ‘ Py Ute {/ Dept. No.: (TBF 7% Housing Unit: 24 -<Ce -/ Y

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) Ne Vise Sau lt Fephed me bittapirin

pac hy fing [ bscuint thes Nurse && OS kid 4s cee. Pha LG gh found J.
Voluiter- fo Sho Jt Aer She LRKS Lobe ZL wo. Seed 4. Lar fGp+ te

A : be o. Eta oT. c
EU ¢ GIPRVGAle; fleas Wyse Se eal bse get aur Ore roo” FAS LOS Vw

A / ss >
G_ frre; lator, Dihre, Lo Cskedl [5 Cepe “oF (CE) fo _(Cetrowe the sige for

no, Onte purse. Sal... HOS ¢ lve litth 1S Cel/ pred (us Z CSked /S Cel

Fp ( bet £20 ee, Af Le. Fb Ve Jf 2 fee th; 3S #2 vt se. Ahr Begg A py GCEITE ory OF

Jaber ig te cv¢h & free ~ My BE of MR Spoke. Per 7
Signature: Ahr NZ : PAPE pe ee,
Off NeOVETVEi?
Grievance Clerk: KEL / Date:

Advisor Requested [_] elt a NO Who:

Action requested by in a (a Loo fol bike bi

C2 ti IAG ns Fpa4 f ‘Co / Ghfert La B Lp-
J : y

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
“An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 39:0f95 <% ~

% ° _ 2
Be nat =

Bac

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
16. INMATE GRIEVANCE COMPLAINT

¢ Grievance No.
Oy Mee "0186-20
A 4} Ca CORRECTIONAL FACILITY
Date: b2Z Od “Go
Name: 4A Avrel Dept. No.:/ /74 <9 74Y Housing Unit_Q.2-23-Fo

Program: -AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) The Lo tho~ be 2kG/Prtd

pee bus pebiste fo Subp f # fure log (ea / Bret /
aliagroses  fa~ ny lowsu— Lik, fp stplatiny DAYS /E2f,
Lhiraoy pave 0 _feado A peke- LfEical. Jetapis
AC Saba be hee Ahrig L, Ags LALE Cal erat? SApulas,,

[6 On ne Ptd rn

Grievant 44, 2 4 R E C E IVE D
Signature: Zt
Grievance Clerk: LluLY) oY AL Date: FEB 6 4 2020
ATTICA CUurit. FACILITY
Advisor Requested [J] YES JN NO wi. INMATE GRIEVANCE

Action requested by inmate: Ze Le COVED F AD betr S€ga_ by eC IG IO,
7

for my Buk7
ee

The Grievance has been formally resolved as follows:

This informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
R- 01 86S AER cv Oreos VLG Document1 Filed 06/29/22 Page 40 of 95

FORM 2131E (REVERSE) (9/12)

Response of IGRC: Grievave is DENIPD.

Grievant was seen and assessed by a provider on 1/27/2020 for complaints of lower back pain. Grievant is scheduled
for physical therapy for an evaluation and treatment.

Per Dirédtive #4040 §701.5 (b)(2)(ii)(a) this grievance was heard in absentia because the grievant is in H/Lore
Texm Keep Lock.

a Oo
Date Returned to Inmate: FEB 0 q 2020 IGRC Members: L A ——

Chairperson: ee Yoel

Réturn within 7 calendar days and check appropriate boxes.*

C] disagree with IGRC response and wish to L] Ihave reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
Ci agree with the IGRC response and wish to [J apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed: __ _ _
Grievant Date
Grievance Clerk’s Receipt Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

* An exception to the time limit may be requested under Directive #4040, section 701 .6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 41 of 95

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION” dae OY
: INMATE GRIEVANCE ~ A A\
GH e No.
SEY GULLS. (0) [7p
Jf}
AYiCG CORRECTIONAL FACILITY

Date: [fr 07-14
Name: Ht hs IV& ([ [ Dept. No.: | 163 OY Housing Unit: kL BCE / yf

Program: AM PM

(Please Print or Type -— This form must be filed within 21 calendar days of Grievance Incident)*
<7 rfl 7 a fs ‘
Description of Problem: (Please make as brief as possible) _//1; SU ) phe ree ee, Sgt «61 DK hob,
(Net Lucy Ose dlck 4 EUS, Have 4 tune 4 Lhe [/ahS OLE “ Sey Con, B Lad
7 5 J f
La creased the | bio#er ISS ie, fa G Dotat pwefer SLarts Pry oy
K ‘] ’ ~ ~
Sink /pto fry b all, To hair Leguesred the Cerf tr ght L gALs
Io + Vired bw (nl fee Dower 7S Are on» 7Ass x S 3, Phy

Ln \. , . ; pS _ 7 ¢ , a.
(Pe fkeom Adi ps hay Légal bjork, peacsas books, Pic na A LNA LG

J 7 J TPF 7
ethers.

Grievant H. /)

Signature: ; ALL t Ee CE i ——

Grievance Clerk: ME A Date: om

ULT O 8 2019

Advisor Requested SA som ATTICA-CORR Fac ies
Action requested by j poaad Ehe ni aht (i gh ts JNMATE 6 RIRVANCE,. 4 i, 4 he
o fe. adc Pouca sky A fixe C til A ho 1 rte wn, Sri - fH Zz Carn ONY “AL

© Sleand is ‘Ke L-*e CF t. P /s l Rirednarh L Fe KO Kee p VOI ne Az. turned

dd ony
The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
“An exception to the time limit may be requested under Directive #4040, section 701. 6(g).
2-j 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 42 of 95
21os

do 9. 2)

hes of IGRC: Grievance is DENIED.
Per Sgt. F...gcievants lights were out because another jtmate on the 3rd floor east gallexy damged a breaker

ty lightingjafwick, Once maintenance fixed the breaker the lights were tumed back on. Water pressure was not
increased by staff as “all the'cells are provided wa’ water fron one pipe.
Per Directive #4040 $701.5 (b)(2)(ii)(a) this grievance was heard in absentia because grievant was in the

SHU/Long Teun Keep Lock.

NOV 2 2 2019
Date Returned to Inmate: 4 ~ GRC Members:

Jf fo
snare XX) Lf
7
|
|

/
Return within 7 calend days and check appropriate boxes.*

C1 disagreeWith IGRC response and wish to [-] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[_] | agree with the IGRC response and wish to [_] i apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent: __

Date

Grievance forwarded to the Superintendent for action:

Date

* \n exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 43 of 95
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE GRIEVANCE COMPLAINT

ie CL SIPCASAS 76820-19
AY CH CORRECTIONAL FACILITY

Date: /2-/6-/7
Name: 4. Byrtell Dept. No.: STb6207 Housing Unit: fn - (8-07

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) LZ was jnbeSecl wilk @ Kteflok SE LOST

Or JOITAL EF v8 fle beasts Confired ge fle Sh br~ lol S14. hirsving
to Direchve 4YFBS | Boh’, Keerlot& Adley fort Cc )" ben Ke alk Sanchor ik jmpostd & / s

Served in_G@ Sh Cell, Senile of the Sarction wil be Crentel 0b pr rape of free days for OUery

hp days Sorted fr the SH Cols Tantiry BF Suoed py Ge bap Keelob Aisbesfior, [Prer-

fe any sd: eisposibon, We [0-30-14 z received k YS Sth ob 3postiay The. fila DSS
IS Ula wlilly lonboning pre, bE pus Leleasel fro fhe. St oe f@hE4 Sz Sheol! feve

A Sy. celts dote 0 |Q1T1% My Stat ties bre mus Com Cu teed.

signature: A, Bol RECEIVED

Grievance Clerk: JME Date: DEC 4-7 2019

[Ino Who: ATTICA CORR. FACILITY
INMATE GRIEVANCE

Action requested by jafrate: F bore COW CES A be lefeased Paya Kt ef JoEK

Advisor Requested

2s am mecdote hy, cle wy MELISS PL oy is Clrtcto SLY ZB Lbs 7 poleospt

Conk jpements

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Date:

Signature:

if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Documenti_ Filed 06/29/22 Page 44 of 95
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT
OY, Ouidarkd Fond 76618-L 9

Ah
Zi CH HHO FACILITY

Date: Jf -/p ~/2
Name: 4A, fauepet | Dept. No.: [T623 29L/ Housing Unit: Z 4th LY

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) Zz Aaye. Peer Lteiitos ADS. —fnte, [, fi
the last ¥%, la thr She yr fle Suet lL Ltlired. F3 hey oO
lab Agreed (0. EUR He kX Pip hy ALL AUS O06 - LW LG, Peat E fold Uke
a bo for Sack (£o5n/) is Subs hhyfe sf 4,3 il on, This (8 6
lio (a#ton. of my 3? Arn hmee f. Mel gh Ss (a Se Li ‘ GA ww mer Al Covel
b Uniso/ Dnithmat Clase ).

A=,
NOUEIVE!)
Grievant Bee Bact
Signature: LD. Bo NOV 19 2040
Grievance Clerk: g ooo Date: ATTICA CORR. FACH Ty
INMATE GRIEVANCE

Advisor Requested NO Who:

Action requestéd by inmate: Z food Lk fresh brit B Vabd JPPle Se ce B
for A SHU ole Provide Sich jem us

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
a3 4 as ey

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 e 4s of gay
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY Speen {oO

INMATE GRIEVANCE COMPLAINT

Ge Souder | 76889715

L| fi CH
pre’ CORRECTIONAL FACILITY
ALS /
Date: VD ~ O7-¢ G

Name: AKO [sor (/ Dept. No.: /'/4/97Y __ Housing Unit: _C£ ~/%

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) /} yw Nec fof- ] 6 (Ct lUSinG to Chime

peu Might Shouder B Hy lebE byiSf oF my Bal, f “is Pot tor, MAM (0.14 S

in formid of ay Ly kt Shoulda Sree 9-9 S- F, éZ ZL bay fe Felis
I Myf le fe tush, 7h Nec Aa, fa, GY i fur cl b . free Of Hoag i CG, Un ZB

Sul Wieg that ZL Gan In Ga S Sas Li Ves ho bibatewes buf Zz GEF

he,

f . f . M a
to ro d. Vo ‘uf be GING ht Vos x fot dy oa Yous Gon. Def TAs —f-
“ ad ! x ——— Tf, 1 ~
i) te So moth. Pal, To Chat  S/eep or move,

Signature: KO favwe(/ RECEIVED

Grievance clot ge Date: OCT 16 2019

Advisor Requested S [LINO Who: satin eae a
NE IE ARE JAI CE
Action requested by inmate: x \rdovl 4 LiKe tobe. fr Leb. fed Ly C/ ber

WYSDeCS frelieal Hitl  Or Gn Cubicle HHespita/

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Documenti Filed 06/29/22 age 4 46 of 95
FORM 2131E (8/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERT

4u. INMATE GRIEVANCE COMPLAINT

Cy Grievance No.

Airc CORRECTIONAL FACILITY
Date: //-/8-/7
Name: AnD Lure i/ Dept. No.: / Wh PT oy Housing Unit: ME CEL Y .
Program: AM PM

(Please Print or Type ~ This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) Pe SHV Sifensx~& SAE unle lus yy

Le Ort Gated fre, by for Cllentis fem WY Phone Ca LYiSiiast A; (oppec bon.
Law BXG). EZ phar olmitled 72 th O9- 99-10, EF vA Pox fecélie G Phrnrn
Catt tn Xi NB CE The Corres thon (eS ag) Shee Went Inds Fee 4
Sine 09-13-19, oe Attica Sh, feve- not Gthrovileay Mis, p F Informed
thera off Ins ivr On MUMermvS  OCoess OAS + Phey [thSedt re

Grievant 1 A o¢
Signature: A [ KA RECEIVE

Grievance Clerk: Date: IOV 9-9 e305
rye il 3
Advisor Requested LIYES LJNO Who: erica CORR. tet
_. ; 3 , INMATE GF
Action requested by inmate: LT hovel l/Ke a fratler- ves eg ave ‘f” 4S O/%
fy “HP? / .
bboy LZ (84s Con Pye di buts i Ae Che Corcee ton Chu 314]
The Grievance has been formally resolved as follows:
This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)
Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page A7 of 98

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
- INMATE GRIEVANCE COMPLAINT
. A lp , Grievance No.

un CU dined 7649619

A Hh Ca CORRECTIONAL FACILITY
Date: “(1S -/ &
Name: AKO Ke frre (/ Dept. No.: _/ Un BF qa Housing Unit: £5 ¢ CE-/4/
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) _7 Ze ye being Canfr rd CA Oey fu /, Pay -
Jf

hickteL bigs XK Lang ind On. LO- PY - SG F f_ Ab a ALtA. L pct fire of fore Pb ays

f L Hho Part. Siate oon Eihgeuah, 30f, LOK, Lte. Lin ber £8 >. 5 bith Ze,

-
>

fy 2OtKk s KC, 1a ‘olde Chip / Atl, Z AA e ib e i ve. hes t AL £ ay "4 fy 4 =a Lon sip =v fie

hy FSian pre rec, math reckag es, (teal tray /, meds, aL B law ¢. Laas Senate,

Ne = f
f Le Ve Zeer SS Mc Png f AD SHU tlewstoly, Ave Aw (on TINE pe on ZL Sy jhora Shar

Deas Made, Ths 8 Gq Cors Kat Lzola Hie TD Pigs Bghts, Dh Lite

broly’ eysly Cort ie "Clots PAL rec Yerd br hre 4 prs Pili hip b Js pep 4 hesinal Igy,

Signature:
Grievance Clerk: oo Date: NOV 06 2019
R. FACILITY
Advisor Requeste LINO Who: aT ae ORE ANCE

Action requesféd by inmate: Fo Agve. poy ail [ackac £8, legal faa f Rill 'tah te

£ Cans by ha, f bfous ohh A rt. FG have Duy Yagi Sethi Pemoved, £

tp Ze finesds boKad Clordny Lo M# Cop 3h k 2atl Crd Hons of
Con Arephi$, /S

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
ase 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 48 of 95

ror 4 61.9, -

Response of IGRC: Grievarce is DENIED.
t received a Tier IL Misbchavior Report which is still pending a disposition.

Per Directive FOO. S70L. 5 (b)(2)(4i)(a) this grievance was heard in absentia because grievant was in the
FHU/Long Term Keep fc

Date Returned to Inmate: HOY 0 8 27018 ——«IGRC sc memes : Y Leas fof regs
Chairperson: = Z———<——

C™ 7
ZL “I.
Return withie’7 caleldar days and check appropriate boxes.*
with IGRC response and wish to [_] | have reviewed deadiocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[_] | agree with the IGRC response and wish to [-] t apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.
a]
J) fA RA
Signed: ff! =
Grievant Date
Grievance Clerk's Receipt Date
To be completed by Grievance Clerk.
Grievance Appealed to the Superintendent:
Date
Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
FORM o131e Grape 1g RP OPRAD Ide aE RE re OF at onda | OG IRRIEF SUPERV! PaQeN? of 95
INMATE GRIEVANCE COMPLAINT

Grievance No.

AY
LOS deen pita .
Alfics iB deprvet 76457 -19

CORRECTIONAL FACILITY
j Date: [t-1-19
Name: A ‘ Avire i Dept. No.: [T& 2997 Housing Unit: C8-CE- (7

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) Tp) SH VS vleri/) So cS. , Lik Sz.
» fompsh the defa VG Loa, AL, Cel Srl LAL ft
“i y bed 24 Lore A AISA JA Yo Comet ) B LoVe
Ye tl do oe St

WN

Grievant oS
Signature: Al. ao moe
Grievance Clerk: <7 Date:

Z NOV 04 2013
Advisor Requested NYE Ay NO Who: ATIICATOR
Lf , ) 4 ? SOT. ese
Action requested ir mate: ZL [OU of lf Ki é Cofl £80 ii y : * RIEVANDE: 74 ADA

Cpl, 3 CE Shiill orcler

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701 .6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 PageS0°of 95:
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION —

INMATE GRIEVANCE COMPLAINT

O Grievance
perted Gyms | 76661-19

Attics

CORRECTIONAL FACILITY
Date: }(~ 92-19
Name: Ae (Aurel | pept. No: | 747497 Housing Unit 24 ~CE -/¥
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) 1 nave ¢ CY \/ex, Led kxh bot Ama
Fa@ fone He lew bers, Ue Cloke bes phere pre (0. oe Vs Aor
ey Tor lonth Z Khu tis to he tntwe, He 4 Lertcal ote: Men
nos these tym, S £ ask Ar pes ote ile Py Logon 7
Lhe Courts.

--Grievant-

Senate: _/ Be BE  — — RECEIVED

_ Grievance Clerk: _ Date: Oo NOV seme
Zp CA CORR. FACT
Advisor Requested 4 e | Who: ATTICA ATE GRI |EVANCE

Loould LiKe Co Pies Of bxhoik AA-E. Fores,

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

ot -
ge OF

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 51 of 95 =~
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT

A ZC CORRECTIONAL FACILITY
Date: //-/4 ~/7
Name: A, fauvzetl Dept. No.: lV 399t/ _ Housing Unit: 2/4 - CA~ LY.
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) 2 Aoye Sear (eerie AD, Shee, [8 Parr
The last 6 lay wth. Sho (Pe le Sue te tee Lxtbrtid. F oh —
Inhored C0. LONE, tee bx Piz ty clk pts 06-lLb, phat E potd Wrke
Oo fri or Srcca hose) 3s Sobstifyhe wf ths all Fan This po
Vio laf of wy jst Arr home f lil gh 5 UG Ke Ly Phe ter Ll bref

A UWB of £) th men t- Clake ). :

Grievant 4 3 - ih.

signature), “4 iL __ NOV 19 2649

Grievance Clerk: Date: ATTICA CORR. FACH ITy
INMATE GRIEVANCE

Advisor Requested Who:

am - 5 sey . j , te]

Z (told bike fresh fuk 6 Valld Ale svete
mn 4 of /) ty 3 / eg .

to ee Sh doe frovide Sich 46a

Action requestédby inmate:

i

The Grievance has been formally resolved as follows:

This informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
? 6 6 i Beh F  09-cv-00506-LJV-LGE Document1 Filed 06/29/22 Page 52 of 95
FORM 2131E (REVERSE) (9/12)

Response of IGRC: Grievance is AXEPIED.
Staf€ have been instructed to check all expiration dates as a corrective action.
Per ‘Directive #4040 §701.5 (b)(2)(ii)(a) this grievance was heard in absentia because grievant was in the

Date Returned to, Inmate:, NOV : @ 2013 IGRC Members: C \< s\ SbPp-

I

Return within 7 e4lendar days and check appropriate boxes.*

[] | disagree with IGRC response and wish to [_] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[] | agree with the IGRC response and wish to [_] | apply to the tGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 53: of 95.» a

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE CREAN COMPLAINT

hod Grievance No.
SS 76658-19
OHH ca or

REC HONAL FACILITY

Date: /(- 22-14
Name: pe + ure Ll Dept. No.: TBO ay Housing Unit: IC” CE - (7

Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
. a7! .
Description of Problem: (Please make as brief as possible) O°» Fey DS*% [ohh tu, fb the PR. (Con

Qre- Per Steg pre vrs reli, nous Perdat regltd Amn Sunshikn, Lisiog,

~~!

Grievant 4 OE RECEIVED

Signature:
NOV-2-5-2019..

Grievance Cle _ Date: __ =n. =
ATTICA CORK. FACIE
Advisor Request INMATE GRIEVAN NCE
Action requested by inmate: 2 wold Likt Day 1't- (%. bus ferdeft of Aaur/f
‘ é ‘
Plecet In wy PE Syra/ Proler yl

The Grievance has been formally resolved as follows:
This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant

Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

FORM 2131 (@/@ASE 1STATR:AE GBB UO AKI VEPERFMENTOR-CORBERTIONS AND ECONUINITY SUPERMRIANEY of'95.~
INMATE GRIEVANCE COMPLAINT

A lp Grievance No.
Walp 76496219
/ . CORRECTIONAL FACILITY
Ate
Date: “7 ~ OS-/F
Name: Ako Ka SAL rve {f Dept. No.: _/ UA 2-494 Housing Unit; LCE -/4
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) Tin heing Conk LUMAn/ Kul, . fry
Licked WES Kx Luagtol On LO-PY-f/F, 7 Aad Arex: Lorrfhirad for PY ays
ot thot Roak. SPate fas Ly SAS 394, LOK, L4@, [lo 6073 />.SS pih/Le,

Mz Sern Ll. ol dle SAeihy/ py Mees/(et Mack Losing. Le ty'a biG t 1g friniz-MS pe

i

boy EFS an mre fee, math , ree kag es, (egal Mgr / LA Ca /, é law ¢, Laas Serine,

x he Ve Aen. Qn c Ha Are of AD ‘SK vn lewstolly, Ay L2Y2 (oA AiG pen fA

Subrnss TVA.

bes nc Made. TALS 5 Gy CorsKart L0 lg ty. Zw fray Light Thus, Lire
reli Aeusl Coat wg e Mr Fre ree Yk be fore re ee A L
i

rievant oS KZA »
Signature: AAO EE Dee Ct fem 2
Grievance Clerk: _ Date: NOV 06 2019

ORR. FACILITY
ARNATES GRIEV ANCE

Action requested by inmate: Fo. Ag Ye Pt Mail PackGa as, legal LAGS J Ric ‘Cap FEC
£ Cans Php brought 4 pr 7t ha a fay (alt hcl Lemsvi dl, Zz
fo ba. AAG ob hs hws Skid CClor d.ng 42 YA Cur 3h 4 Kana Cre Bonk of

Con Fire phurk
The Grievance has been formally resolved as follows:

Advisor Requeste

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 55 of 95—_

FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE SRIEVANG COMPLAINT
Ae tune 26458 i
A If Uncorre cry Coleniat 120~19

COR CTIONAL FACILITY
Date: CC 3/ AF
cfm

Name: A, Burrs; / Dept. No.: !TB 2904 Housing Unit: LE - CE-¢Y
Program: AM PM

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) 283 bbhte €ropenEhi/ Co Pate tec fay”

di St) Many ScrcBena Or /0- /7-14, @ lis Paibian wts Reload of 20 leS keep bck
Bete. Ay Ke C4 £rSel, EF hed no She Ame ot the pyre Ude old Sfoirhin LWZS
letrseds tere bore arsed fo \/rved ve YOB3! 301.60) E Compyeted Aes.

ol/S PosiHon on lo- 31-02, Vet, My rliord Letlects ¢ KeihloK ELL hehe

cade OF (8-14-14 fo /- 03-2, jh/s x CTO ROWS Plated. (yp. /0-22- lt dayne fe

(etiwtd @ SteraHt rdoct.. toed fold we pn tbe SH fre-Heacioy, Co, irene

Grievant /} jp ( Liven 7
Signature: Ets iD RECEIVE
Za nen
Grievance Clerk: fi Date: NOY ate
Sf> NOV OE 2619
Advisor Requested LJNO Who: A CORR FACH ITY

- I )GRIEVANCE
Action requeste mate: Zz LSK- ey /e ATALE Keel looK Lapesy oA, be Vohicied,

f
My [0-30-14 STA » Sf How, Ae ClCred, “eel fre- hei cing Confe rena fre rr
/o-.22-/¢ be Jo- 30717, Gad 2 /eede_ CoA af Med Cusilee f,

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 56 of 95

hl Rah? (9/12)

Response of IGRC: Grievance is DISMISSED AND CLOSED.

Fer Directive #4040 §701.5 (b)(4)(i)(c)(2) The IGRC may dismiss and close a grievance after a hearing if it
detennines, by majority vote (3 of 4) that the grievant is secking a decision or an appeal of a decision otherwise
attainable through the established procedures for disciplinary and time allowance committee proceadings.

Per Directive #4040 §701.5 (b)(2)(ii)(a) this grievance was heard in absentia because grievant was in the
SHU/Long Term Keeplock .

Action requested ievant is not an available remedy through the Inmte Grievarce Program. Grievant must

write to the ioblia® Grice

Date Returned to | :_N ye 8 2019 IGRC en Lb slab tibyer
[| / AE

Chairperson: fe 2
| yy Z|
: LV
Return within 7 calendar/Mays 4nd check appropriate boxes.*
C1 disagree with IGRC response and wish to L] | have reviewed deadlocked responses.
appeal to Superintendent. Pass-Thru to Superintendent.
[_] | agree with the IGRC response and wish to [_] | apply to the iGP Supervisor for
appeal to the Superintendent. review of dismissal.
Signed:
Grievant Date
Grievance Clerk's Receipt Date
To be completed by Grievance Clerk.
Grievance Appealed to the Superintendent:
Date
Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:22-cv-005064 Wh pe Sourhentt Hib

. oI

Dey fo gases OEE en ee 76458-19
0 /¢ J She. o> fe SX CG ae ' ?
O9/ TOR [UGS Perclerted, C91 Creek, fo Ye
CG/ Cu hie, vy Pee A hee. Ez Lon the / Z Y?
/D-30- 7 COREG Prom 10-99-10 ip yrs.
/9. Fh Le a J / 1s /
fASS, (SPOS) Mor, LS Feberef hb fer

bal OL OY PATH. bps

My Keep Jock VED S bn.

tGS Complete OA fbi e ol
ELC RS Dangctury

AN + Vere
tery, Loy, My hE pos yn YoenL

the fem& of Vy Contiremenrth J jp PPOy be Nh lees PAL
PY bye Pocese vighh YS Dofe fed.
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 58 of 95
FORM 2131E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION —

INMATE GRIEVANCE COMPLAINT (PL)

Grievance No.

Adlbica.

CORRECTIONAL FACILITY

Date: //- 0-9
Dept. No.: LBP C47 Housing Unit: fB~ CE AY

Program: AM PM

4. bth

Name:

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) “74,10 4. Lat af ta Glous Ferdanf
Lviep (td p> tee footy persvtad 7% GY oO) - SFL, 7 Jeg. & ve2@ £ he
pte toe ons Hon. ab Fox ¢ tHe LEG (Pon, OF Aor,
rg lass Prende. fF Ac Yetud bn Ay Jerssrn/ “A Lec Bisy Lee a
the Zhe.

Grievant

Signature: A. jp Le IgV 95 2019

_ Grievance oi, _ Date: ATTICA CORR. FACILITY

INMATE GRIEVANCE

Advisor Requested P

Action reques

¥ “TT f y ) j ji 1 -
Ed byinmate. ~”% £5 f0 Oa, (tly $ 720% fren dent By Plated re~

LY [Bon af fre Perry of Gi ifr fo One Why le ZA AL Ss JA,

( ff

The Grievance has been formally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
*An exception to the time limit may be requested under Directive #4040, section 701.6(g).

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 A 58 of 95

MAIER E LC d
AU Ee Hing ayy

ACF, Po. Bok /49
(00 RB ca- 14

Nate J 10+ I-14

TRC

wr é _
WE, ( PiMYUGNEL

To [ohn i£ Conte rh,

a 594 5 yn dir /Wele meen t
Dov Zon Of Shomer 5, nm LBL bb6h~. Of fre hihag a chia COtfMeraL
Wis pleted om b/s Odler,

LLtSold Lona 8 me

Zz prpud h/Ke Shr Df [WN KW Order for v a
Showers to be Aitfed . ZL 9% publ beher any Sure. OF
lehulighn + be (shed by HA SY, Seyler,
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 A of 95
oUF & Wr?

MAyag Doou/
ACF, P0.Box yg

Loc! RB-¢E- Hy

hate: 10-94-19

TCC

CE: Grievance

To pthow i Concer) _
Me BISWA Lady 0blak Seavell, (Ssuc Hed pro.

Su “4 6 Pok brisk Povirg my Cn fe Sided my 0018 B GS, Th, + thse

TZ pus ow the Fourr- be bales d re Mil $ oy 09 Arch) = notre

C poge bale im bis pyle G6e0- CS Ae S/ictkéd AIS LPs yn. CS Sex V6 penny

Pho, paiking Ace to my Ce# Ze Sentral wre Yeo G4 he Mel)

if i /, / ‘ : Goel
Ivy bu foeks (auSnG CG SBF fll in bey LAY CLeG,

[leSouHion 1 = poured Like ths fo he nes “gee dl Z CR wish
Pr fess Crienioal ChigeS, pave melce/ & natal poate
Case 1:22-cv-00506-LJV-LGF Documenti Filed 06/29/22

Exhibit

Page 61 of 95
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 62 of 95 wy

4

‘ 7 GRIEVANCE NO. DATE FILED |
of Corrections and A-76496-19 11/6/19
<— sate | Community Supervision
" FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Unlawfully Confined 26
SUPERINTENDENT
SUPERINTENDENT'S SIGNATYWRE DATE
CL JOfAS / Zp ? A
GRIEVANT ° DIN HOUSING UNIT * ”
Burrell, A. 17R2994 RB-CE-014

Grievance Denied Based Upon Information Provided:

The investigation into this matter shows that the grievant is complaining that he is being
unlawfully confined. Upon review of the documentation provided, there has been no evidence
submitted to substantiate any malfeasance by staff. The grievant was not unlawfully confined as
he received a Tier 2 misbehavior report for an incident on 10/22/19 in which he was found guilty
and received sanctions that included 45 days SHU and 45 days loss of packages, commissary
and phones. Additionally, the grievant was issued a Tier 2 misbehavior report for an incident on
10/30/19 in which he was found guilty and received sanctions that included 10-days keeplock,
10 days loss of package, commissary and phones. Additionally, the grievant was given 20 days
keeplock, loss of packages, commissary and phones suspended until 2/6/20. As such, this
grievance is without merit and denied.

APPEAL STATEMENT
if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing
this decision to C.O.R.C.

GRIEVANT’S SIGNATURE DATE

GRIEVANCE CLERK’S SIGNATURE DATE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 63 of 95

QD

GRIEVANCE NO. DATE FILED

—J MEW | Corrections and A-76457-19 11/4/19
—~ $taté | Community Supervision
~ ' FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE:
Wants Deprivation Order Copies 24
SUPERINTENDENT
CLL DATE
C- Crhh FG ty fess
GRIEVANT DIN HOUSING UNIT ~~
BURRELL, A 17B2994 RB-CE-14

The grievant states that he wants copies of the deprivation orders he has been sanctioned with.

Per investigation, Sgt. F. states grievant was provided with copies of the deprivation orders
placed on him.

Based on the investigation, this grievance appeal is granted.

APPEAL STATEMENT
if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing
this decision to C.O.R.C.

GRIEVANT’S SIGNATURE DATE

GRIEVANCE CLERK’S SIGNATURE DATE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)

Case 1:22-cv-00506-LJV-LGF

Document 1 Filed 06/29/22

Page 64 of 95

QD

. GRIEVANCE NO. DATE FILED /
i MEN, | Corrections and A-76457-19 11/4/19
——, State | Community Supervision
i FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Wants Deprivation Order Copies 24
SUPERINTENDENT
gif OO SIGNATURE DATE
Cr Ce FG ty Jesh
GRIEVANT DIN HOUSING UNIT ~ 7
BURRELL, A 17B2994 RB-CE-14

The grievant states that he wants copies of the deprivation orders he has been sanctioned with.

Per investigation, Sgt. F. states grievant was provided with copies of the deprivation orders

placed on him.

Based on the investigation, this grievance appeal is granted.

APPEAL STATEMENT

If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing

this decision to C.O.R.C.

GRIEVANT’S SIGNATURE

DATE

GRIEVANCE CLERK’S SIGNATURE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)

Form 2133 (02/15)

DATE

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 65 of 95

Burrell, A.

=

| 17B2994

r GRIEVANCE NO. DATE FILED
A-76450-19 TIAN
FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM __ | TITLE OF GRIEVANCE CLASS CODE
Retaliation For Complaint 49
SUPERINTENDENT
es SIGNATU DATE
| - - Co Le F~5|\ testy
GRIEVANT | DIN HOUSING UNIT
RB-CE-014

Grievance Denied Based Upon Information Provided:

The investigation into this matter shows that.the grievant is complaining that he was denied a

shower in retaliation for filing a PREA complaint. Upon review of the documentation provided,

there has been no evidence submitted to substantiate any malfeasance by staff. Lt..B...
interviewed the grievant who had nothing further to add nor provided any witnesses to
substantiate his claim. Sgt. S... provided a statement denying the grievant’s allegation. The
grievant was placed on shower deprivation for not following escort procedures. The grievant is
advised that an employee's appropriate performance of his duties and the enforcement of the
rules and regulations are not to be construed as harassment. As such, this grievance is without

merit and denied.

APPEAL STATEMENT

Hf you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.” Please state why you are appealing

this decision to C.0.R.C.

GRIEVANT'S SIGNATURE

GRIEVANCE CLERK'S SIGNATURE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (9)

Form 2133 (02/15)

Case 1:22-cv-00506-LJV-LGF Document1_ Filed 06/29/22 Page 66 of 95 / 6

| — . GRIEVANCE NO. DATE FILED
7 MEM, | Corrections and A-76505-19 11/6/19
———. STATE | Community Supervision
= FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Sgt. Threat 49
SUPERINTENDENT
SUPERINTENDENT'S SIGNATURE DATE
Sr C4 (£2 Mf tps
GRIEVANT DIN HOUSING UNIT
BURRELL, A 17B2994 RB-CE-14

The grievant asserts that Sgt. F... threatened that if he did not drop his previous complaint and
allegations against CO P. that a cell shield would be placed over his cell door.

Lt. W.... conducted an investigation in regard to the grievant's allegations. The grievant was
interviewed 11/12/19. He had nothing to add to his written complaint and did not provide any
witnesses to support his allegations. He stated he would only provide additional information to
OSI.

Sgt. F... was interviewed and provided a written statement denying the allegations of
threatening the grievant. The cell shield order was put in place per department guidelines.

Based on the investigation, there is no evidence to substantiate the grievant’s allegations of
malfeasarice by staff. The grievance is denied.

APPEAL STATEMENT
If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Cierk. You have seven (7) calendar days from receipt of this notice to file your appeai.* Please staté why you are appealing
this decision to C.O.R.C.

GRIEVANT’S SIGNATURE DATE

GRIEVANCE CLERK’S SIGNATURE DATE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 67 of 95
| Shey | . GRIEVANCE NO. DATE FILED
7 Vee. | Corrections and A-76329-19 10/16/19
——— HATE Community Supervision
=) FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Shoulder Pain 22
SUPERINTENDENT
SUPERINJENDENT'S SIGNATURE DATE
GRIEVANT DIN HOUSING UNIT
BURRELL, A 17B2994 RB-CE-14

The grievant states that he has not received proper medical attention for shoulder and wrist

pain.

Per investigation, NA M. states grievant was seen on numerous dates in sick call and
complained of shoulder pain from an old injury. An x-ray was completed, and a PT referral was
ordered. He was seen for a follow up appointment and additional testing was ordered.
Consistent with Health Services Policy Manual Item #1.43 - Specialty Care Referrals, the
Facility Health Services Directors (FHSD) have the sole responsibility for providing treatment to

the inmates under their care.

Based on the investigation, this grievance appeal is denied.

APPEAL STATEMENT

if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing

this decisian to C.O.R.C.

GRIEVANT'S SIGNATURE

GRIEVANCE CLERK’S SIGNATURE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)

Form 2133 (02/15)

DATE

DATE
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 68 of 95
[ GRIEVANGE NO. DATE FILED
ns and A-76450-19 11/1/19
vy Supervision
FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Retaliation For Complaint 49
SUPERINTENDENT SUPERINEENDENTS SIGNATU DATE
Fo Cn LE JG | ttt
GRIEVANT DIN HOUSING UNIT
Burrell, A. 17B2994 RB-CE-014

Grievance Denied Based Upon Information Provided:

The investigation into this matter shows that the grievant is complaining that he was denied a
“shower in retaliation for filing a PREA complaint. Upon review of the documentation provided,
there has been no evidence submitted to substantiate any malfeasance by staff. Lt.B...
interviewed the grievant who had nothing further to add nor provided any witnesses to
substantiate his claim. Sgt. S... provided a statement denying the grievant’s allegation. The
grievant was placed on shower deprivation for not following escort procedures. The grievant is
advised that an employee's appropriate performance of his duties and the enforcement of the
rules and regulations are not to be construed as harassment. As.such, this grievance is without

merit and denied.

APPEAL STATEMENT

if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal." Please state why you are appealing

this decision to C.O.R.C.

GRIEVANT'S SIGNATURE

DATE

GRIEVANCE CLERK'S SIGNATURE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (g)

Form 2133 (02/15)

DATE
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 69 of 95

Rotel gd B2444

Grievance Number Desig./Cade Date Filed
A-76504-19 1/49 11/06/19

vor | Corrections and _

STATE Community Supervision - Associated Cases Hearing Date
| | 04/15/20

ANDREW M. CLOMO ANTHONY J. ANNUGCI Faciy ; —
| Govemor Oe Dmieene Attica Correctional Facility
| Title of Grievance ~ —
INMATE GRIEVANCE PROGRAM Harassment

CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST. UNANIMOUSLY DENIED

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby denied.

CORC notes that the grievant's cell was frisked on 10/30/19 at 1:25 PM by COL... and the
contraband receipt indicates that disallowed items were disposed of and that no damage was done to
his property. COL... denies planting a sharp object in the grievant's cell or smelling like smoke and
alcohol, and states that the Cell frisk was authorized by the area supervisor. In addition, Imam G...
States that he did witness the grievant flush something down the toilet but did not see the object as
alleged. Further, area Sgt. E... states that he conducted rounds on the unit at approximately 6:46 PM

‘on that date and the grievant did not inform him of any concerns. CORC also notes that the grievant
was issued a Tier [| MBR on 10/30/19 for interference and false information which was affirmed upon
appeal by Lt. W... on 11/19/19. CORC asserts that an employee's appropriate performance of their
duties and enforcement of the rules and regulations should not be construed as harassment.

CORC asserts that the grievance program is not intended to support an adversary process.

With regard to the grievant's appeal, CORC has not been presented with sufficient evidence of
malfeasance by staff and notes that he has since been transferred. CORC advises him to address
security concerns with supervisory staff at the time of the incident for the most expeditious means of
resolution.

_TAB/

This document has been electronically signed by Shelley M. Mallozzi
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 70 of 95

Exhibit

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 71 of 95

Borrell (a219Y

Grievance Number Desig./Code Date Filed
A-76505-19 1/49 11/06/19
{NeW Corrections and
jae Community Supervision Associated Cases “oh a 20
ANDREW M. CUOMO ANTHONY J. ANNUCCI Facility
Governor Aeting Commissioner Attica Correctional Facility
Title of Grievance
INMATE GRIEVANCE PROGRAM Sergeant Threat
CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY DENIED AS WITHOUT MERIT

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby denied as without merit. CORC upholds the determination of the Superintendent for the
reasons stated.

CORC notes that Sergeant F... denies threatening the grievant with a cell shield order for a complaint
he submitted against an officer, and states that the grievant was placed on a cell shield order for
refusing to return cell feed-up items.

With respect to the grievant's appeal, CORC notes that he did not name any witnesses in his written

complaint and refused to name any when he was interviewed by Lieutenant W.... CORC has not
been presented with sufficient evidence to substantiate retaliation or malfeasance by staff.

MPS/

This document has been electronically signed by Annemarie McGrath

Case 1:22-cv-00506-LJV-LGF

— RAorrell Beat

Document 1 Filed 06/29/22 Page 72 of 95

— QNiwton = UH - 11-10

Grievance Number Desig/Code | Date Filed

CENTRAL OFFICE REVIEW COMMITTEE

A-76512-19 1/24 11/08/19
sw Yon | Corrections and - __ -
| Sm “INE | Community Supervision | Associated Cases — ae ay 50
ANDREW M. CUOMO ANTHONY J. ANNUCCI Facility —— SS
Governor Acting Commissioner Attica Correctional Facility
— : | Title of Grievance —
INMATE GRIEVANCE PROGRAM Cell Lights

GRIEVANT'S REQUEST UNANIMOUSLY DENIED FOR MOOTNESS

Upon full hearing of the facts and circumstances in the insiant case, the grievant's action requested is
hereby denied, as CORC considers the issue moot. ,

CORC notes that Directive #4040, § 701.3 requires that “An inmate must be personally affected by
the policy or issue he or she is grieving, or must show that he or she will be personally affected by
that policy or issue unless some relief is granted or changes made.”

CORC notes that the grievant was transferred on 2/28/20. Due to this change in circumstances, the
grievant is no longer personally affected by the issues raised in the instant complaint.

Accordingly, the matter is now closed.

SMWM/.

This document has been electronically signed by Shelley M. Mallozzi
Case 1:22-cv-00506-LJV-LGF Documenti Filed 06/29/22

Exhibit

Page 73 of 95
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 74 of 95

NEW YORK STATE
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCI JAMES O'GORMAN
ACTING COMMISSIONER DEPUTY COMMISSIONER
CORRECTIONAL FACILIT
REVIEW OF SUPERT

uy re

NTENDENT'S HEARING
NAME: BURRELL, AKO NO. 17B2994
HEARING FACILITY: ATTICA

ON BEHALF OF THE COMMISSIONER AND IN RESPONSE TO YourR RECENT

LETTER OF APPEAL, PLEASE BE ADVISED THAT YouR SUPERINTENDENT'S HEARING OF

OCTOBER 18. 2019, HAS BEEN REVIEWED AND REVERSED ON OCTOBER 24, 2019,

L HOUSINGS
ARY PROGRAM

CC: FACILITY SUPERINTENDENT
CENTRAL OFFICE FILES

APPEAL DECISION RENDERED PURSUANT TO SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY OF THE DIRECTOR OF SPECIAL
HOUSING/INMATE DISCIPLINE PROGRAM.
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 75 of 95

NEW YORK STATE
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCTI JAMES O'GORMAN
ACTING COMMISSIONER DEPUTY COMMISSIONER
CORRECTIONAL FACILITIES

MEMORANDUM

TO: SUPERINTENDENT JOSEPH H MNOETH
ATTICA CORRECTIONAL FACILITY

FROM: DONALD VENETTOZZI, DIRECTOR
SPECIAL HOUSING/INMATE DISCIPLINE

DATE: OCTOBER 24, 2019

RE: REVERSAL OF SUPERINTENDENT'S HEARING/EXPUNCTION ORDER
INMATE/NUMBER DATE OF HEARING DATE OF INCIDENT
BURRELL, AKO OCTOBER 18, 2019 SEPTEMBER 25, 2019
#L7TB299G BY AISP MCCULLOCH, T

a ATTICA C.F.
TAPE #: 19-1915

N SUPERINTENDENT'S HEARING HAS BEEN REVERSED ON
9; FOR THE FOLLOWING REASCONCS):

HEARING OFFICER INAPPROPRIATELY DENIED REQUESTEL INMATE WITNESS
WHO MAY HAVE PROVIDED RELEVANT TESTIMONY.

RECORDS CONTAINING REFERENCES TO THE ABOVE-NOTED SUPERINTENDENT'S
HEARING ARE TO BE EXPUNGED.

PLEASE OBTAIN ALL AVAILABLE RECORDS WITHIN 14 DAYS OF RECEIPT OF THIS
MEMORANDUM. AFTER ACCUMULATING SUCH RECORDS, PLEASE FORWARD THEM FOLLOWING
ESTABLISHED PROCEDURES.

DO NOT SEND TAPES RETAIN ON FILE AND MARK AS EXPUNGED.

IF THE RECORDS ARE NOT AVAILABLE AT YOUR FACILITY, PLEASE ADVISE THIS

OFFICE AS SOON AS POSSIBLE.
CC: -» ATTICA C.F.

I.R.C
EXPUNGEMENT FILE
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 76 of 95

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

WITNESS INTERVI EW NOTICE (For Superintendent's & Disciplinary Hearings)

Ltt (Ce Correctional Facility

“Inmate aes (Print) DIN

An inmate may call witnesses on his or her behalf provided their testimony is material, is not redundant, and doing so
does not jeopardize institutional safety or correctional goals.

If permission to call a witness is denied, or of a requested witness testifies outside the presence of the inmate charged
and/or if the inmate is not permitted to review the testimony of a witness, the reason for such determination must be
recorded on this form and copies given to the inmate by the hearing officer and inciuded in the hearing record.

Reference: Directive #4932, Sections 253.5 and 254.5.

Yes lo S Jf /4B (53 q _ x] Permission to call the requested witness is denied.

Way winees: CI Requested witness will testify outside inmate’s presence.
Inmate is not permitted to review requested witness’s testimony.

Date:_““"_* fom 16-4 Explanation: Deed Ove’ Be fi Lipy VF: sted wrt SSL Lit nF. TwWe Lued
Tae tA Ths TM hs AnaA THE Miatat E Lad. Pritie Rald 75 Lasse Tad
Splety ek SAFE Ave Tymates Awe Tp EwSoel Te 52 ted bef. ©

This, Cheuty. 4 isp, Tals Dmates Testrau/ ewe be edu ot

% lo Web paws’ Rijustal ef Sgr bekae ,The Pephedet fit dno etry
Me ahen| Pet Eom The Peate teptel tad The 2 2tfed “Vilas

teneereae rani rr em AL eee

L] Permission to call the requested witness is denied.
Requested witness: CJ Requested witness will testify outside inmate’s presence.
Inmate is not permitted to review requested witness’s testimony.

Date:____ Explanation:

HAARERRR ER RARAR RARE ARE EAE R REA EREIRA IRIE RRR ER RR IRRRRRRR  R  RR aR RRR RRR IG

— L] Permission to call the requested witness is denied.
Requested witness: C] Requested witness will testify outside inmate’s presence.
Inmate is not permitted to review requested wiiness’s testimony.

Date: _ Explanation:

BRARKARKARARRABRRERRERRAAARERRRERRRRRRRRRRRRERRERERRERERERRERRERRRERRRERRERERRERRERRRRRERREERERRERRERRRERRRERREREE

Signature _ =
Hearing Officer Inmate DIN Date Received

Distribution: Original - Hearing Record Copy - Inmate
Case 1:22-cv-00506-LJV-LGF Documenti Filed 06/29/22

Exhibit

Page 77 of 95
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 78 of 95

FORM 2171B (10/14) STATE OF NEW Fe - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION h \v
i ffl tHe L Correctional Facility f
INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO
1. NAME OF INMATE (Last, First) ¢ NOMBRE DEL RECLUSO (Apellido, Nombre) NO. ¢ NUM. HOUSING LOCATION ¢ CELDA |
Eubeell (132944 C eid
INCIDENT DATE # FECHA INCIDENT TIME ¢ HORA

2. LOCATION OF INCIDENT # LUGAR DEL INCIDENTE

Delevrtod Bayon = 1° heen EAST Gallety /O-3O-717 Atetie Pity 21 On

3. RULE-MELATIONS)¢ ¢ VIOLACION/ES

Cyu_/3 ) CREM DGIAGRIE
C5710) rien Fed Ole

HSPAB FALSE Joka ted

‘DESCRIPTION OF INCIDENT ¢ DESCRIPCION DEL INCIDENTE

Oul Wee AFfeve Date Aon» APG rac Teme tilhcr Sera tsa he A

ory A — f +
fe a) el Vue 2) “tas East Go bates fe eB thy Ve 5 i J ew ws. C C,
Lek buh 8% j)hxnd By Jc Beyeegetl 178299 carlo lecece ins

Coe Mrell, piAantec budgcitc Ito me is vas Hal C tleger IMaes,
) ib tetcel TAs to Fide Hatl Comes Aw He falie) yacorcal.
Ajtdo side pvt Sie Chnrtc To Ges feAAA Go Cth, EL IMs tpl FE 0
(0. pRArn pew to CET Mian Fem Is Cell Fo BE
ES Powter) boy THe plo prmsis Buegslt Jolo pg He
Albvetl Send fhe lao Cues? forws AD AeGised FO feit
SACS Cote Fay "BF SBI La) Ape LV) DL STACI. ISTE
Buaslis Feolse S7Fismnre Letetee he path THE 8 sts ‘Ty Pret,
Ais PDinkeesd) THE C0sttry J ge WHE Me OtAl GA, Lb wa
SAvedibet AS Neprw), 6 tettitve foie) Te %sh2T
AAT 4S Fi nt€

a ee \.
REPORT DATE @ FECHA REPORTED BY ¢ NOMBRE DE LA PERSONA QUE HACE EL INFORME SIGNATURE “¢ FIRMA _ TITLE ¢ TITULO
1 ,
/O.%019 |IbA.Lece CC pee cL ClO
- c . eck Lene
5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES. {if any) SIGNATURES:
ENDOSOS DE OTROS EMPLEADOS TESTIGOS (si hay) FIRMAS: 1. fe ai iL) Lik.

2. .
NOTE: Fold back Page 2 on dotted line before completing below.

DATE AND TIME SERVED UPON INMATE OCT 3 ] 2019 Nh bOcK NAME AND TITLE OF SERVER CO. J, Vo vholzer oo

NOMBRE Y TITULO DEL QUE ENTREGA

FECHA HORA DADO AL RECLUSO.

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. # Por este medio se le informa que no se puede usar ninguna declaracién hecha por usted como respuesta al cargo o Ja informacion derivada de ella

en una demanda criminal.

NOTICE # AVISO

REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing to be held. ¢ Por este medio se le norifica que
el informe anterior es un carge formal el cual se considerara y determinara en una audiencia a celebrarse.

The inmate shall be permitted to call witnesses provided that so doing does not jeopardize institutional safety or correctional goals. ¢ Se le permitira al recluso llamar
testigos con tal de que al hacerlo no pondra en peligro la seguridad de la institucion o los objectivos del Departamento.

If restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior to the hearing to make
a statement on the need for continued prehearing confinement. # Si esta restringido pendiente a una audiencia por este informe de mal compartamiento, puede
escribirle al Diputado del Superintendente para Seguridad o su representante antes de la audiencia para que haga una declaracion acerca de la necesidad de

continuar bajo confinamiento, previo ala audiencia.
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 79 of 95

G
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 80 of 95

FORM 2187 (3/17) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
ATTICA Correctional Facility
DEPRIVATION ORDER
INMATES NAME: Burrell DIN: 17B2994 CELL LOCATION: RB-CE-14
In accordance with 7 NYCRR Section 305.2, on this date of 10/22/2019 you are being deprived of the following

specific item(s), privilege(s) or service(s): Shower

because it is determined that a threat to the safety or security of staff, inmates, or State property exists and forthe following

specific reason(s):
On 10/22/19 during the shower program, you did not follow shower procedures causing a U.O.F.(19-0158)

Recommended by: OZR sn Sergeant Authorized by: 4 law & -na Fhe. Date: le 3-4

a
aa Date |Cell # |Reason(s) for continuing this order (based on current evaluation)
o/ ICEL
pay 2 [Plt
Recommended by (Sgt): “Af QZ Authorized by:/ Fier Goesace, Pan)
DAY 3 7, (Loose fy blow GY dew felicy cyl, fy fw whee
6 Recommended by (Sgt): Q. fee Oey Authorized by: gs Fez
gihes vel he to tle, sha Showy pol. ‘cy re sl4 [eins Hs :
DAY 4 tf, yal Ee Bs
4 Recommended by (Sgt): 0. ye TZ
DAY 5 ly (id be  bllen Sv aver p
Jt Recommended by (Sgt): “1 Fate & 7 Authorized by: Aypy  L- ee
/ Aé@osed Fo ht AY chwih policy Zeteltips, st FASE S
DAY 6 |/ okdohk “7 a
Recommended by (Sgt): eye tebe Authorizedby: 2% ogee
. Vets lungel +5 Cone, silta Shy ee policy de Lau J pees
DAY 7 i, the Shower Dpceeranw A. q
a Recommended by (Sgt): 2. fy —2—D Authorized by: //7\ war CAs, pe

“After seven (7) days, deprivation orders will be reviewed and can be renewed by the Superinténdent.*
SUPERINTENDENTS REVIEW:
COMMENTS:

RENEW: |] YES Yi NO SIGNATURE: SY) /| | ______ DATE: a] [4

NOTICE TO INMATE:
You may write the Deputy Superintendent for Security or his designee to make a
statement on the need for continuing this deprivation order. ~

Notes: Upon signature (authorization) copy and deliver to the inmate. _
For any deprivation order issued pursuant to § 305.2(e), the appropriate OMH form must be attached as soon as possible upon
completion by the approving clinical professional

CO. CunavintanaAant Offian af hAnntal Unnlth fannnlanaA inerntantd OLILE Onsnannn tidasiniann FIA Oana Plate Pola ——
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 81 of 95

CELL SHIELD ORDER - SHU

Attica Correctional Facility

INMATE'S NAME DIN CELL LOCATION

Burrell 17B2994 CE-14

In accordance with 7 NYCRR Section 305.6, you are being placed under a cell shield order

from 10/30/2019 to 11/1/2019

(starting date) (ending date)

for the following reason(s): |
On 10/30/19 you refused to return feed-up items consisting of 2 cups, spork and cereal container.

Notice:
You may write to the Deputy Superintendent for Security or his or
her designee to make a statement on the need for continuing this
cell shield order.

4 x —J 7?
Recommended by: K Ty Lo £7 , Sergeant
Authorized by; POS) @. aK . lv 38 -J5

‘DSS, OD or Higher Ranking Authority Date |

Dist: Original - Superintendent
Copy - Inmate
Copy - SHU Sergeant
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 82 of 95

FORM 2188 R (3/17) CELL SHIELD ORDER - SHU - RENEWAL) ots
Aitica Correctional Facility
INMATE'S NAME DIN CELL OCHO -
Burrell 17B2994

In accordance with 7 NYCRR Section 305.6, you were placed under a Ce

on 10/30/2019

(original order date)

This order has been reevaluated and a decision has been made to renew the order

from 11/8/2019 to 11/15/2019
(starting date) (ending date)

for the following reason(s):
On 10/30/19 you refused to return feed-up items consisting of 2 cups, spork and cereal.container.

Notice: :

You may write to the Deputy Superintendent for Security or his ¢ or

her designee to make a statement on the need for continuing t this
cell shield order.

Recommended by: LA wil , | Sergeant

Authorized by; DI SCONTINUG | Is | (ater

Superintendent/OD Date

Dist: Original - Superintendent
Copy - Inmate
Copy - SHU Sergeant
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 83 of 95

FORM 2488),(3/17) CELL SHIELD ORDER - SHU - RENEWAL
Attica Correctional Facility
INMATE'S NAME DIN CELL LOCATION
Burrell 17B2994 CE-14

In accordance with 7 NYCRR Section 305.6, you were placed under a cell shield order

on 10/30/2019

(original order date)

This order has been reevaluated and a decision has b3en made to renew the order

from 11/1/2019 to 11/8/2019
(starting date) (ending date)

for the following reason(s):
On 10/30/19 you refused to return feed-up items consisting of 2 cups, spork and cereal container.

Notice:
You may write to the Deputy Superintendent for Security or his or
her designee to make a statement on the need for continuing this
cell shield order.

Recommended by: RQ Fox Dea , Sergeant

Authorized by; x CLL. Lhe att by, Les

Superintendenti@D) Date

Dist: Original - Superintendent
Copy - Inmate
Copy - SHU Sergeant
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 84 of 95

Exhibit

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 85 of 95

FORM #2077 (REV. 11/16)

NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

kk FRISK/CONTRABAND RECEIPT _
Original — Inmate

HAT t1 cll CORRECTIONAL FACILITY Copy _- DSS
pate: _/, l. )-BO- -“/F Frisk Start Time,/, LS /an_Frisk End Time: 2s AY
Inmate vend MeL pint US2Y cELUCUBE/ C-E-/ Yo

Officer Conducting Search: gay LEE CBZ 5 (i

Print Name Legibly Badge # Signature ——

ITEMS CONFISCATED OR DAMAGED _WHERE FOUND DISPOSITION OF ITEMS LISTED
LCps ALLE sper
l Lenk SLs MAGAUL Ws

/ lawl C (opr ec_ (WK ph Was F
Slr

|

L
Y G50 CONTRABAND FOUND /\K@7 No PROPERTY DAMAGED DURING SEARCH

NOTICE TO INMATE: YOU MAY WRITE TO THE DEPUTY SUPERINTENDENT FOR SECURITY WITHIN 7 DAYS OF
THIS RECEIPT REGARDING THE CONFISCATION OR DISPOSITION OF THESE ITEMS.

NOTE: DURING THIS CELL FRISK, MY INITIALS BELOW INDICATE THAT THE CELL INTEGRITY CHECK HAS
BEEN COMPLETED AS FOLLOWS:

FLOORS: Ll? SINK/TOILET: LP
AIR VENT: © WINDOW CHECKED/INTACT: WL.
CEILING: Le WALLS: LL
BARS: ww MISC: fo

—

—

IN ADDITION: THE FOLLOWING ITEMS WERE CHECKED.FQR COMPLIANCE:
PROPERTY LIMITS (No more than 4 bags of property):
PHOTOGRAPH/PICTURE CORRBANCE (No nudes visible from the front of cell. All photos/pictures confined in the
appropriate 2’ x 4’ section.)

INMATE ID MATCHES ee APPEARANCE (Checked ID to inmate’s current appearance, if the inmate was
present for the search.)

Comments:

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 86 of 95

FORM #2077 (REV. 11/16)

NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

CELL FRISK/CONTRABAND RECEIPT -
Original — inmate |
Key iA CORRECTIONAL FACILITY Copy - DSS

Date: \\ “ - IS Frisk Start Time: |< AS Frisk End Time: } } es
Inmate Name: (lores | pin: | HOODS UpELL/CUBE/ROOM: C G -) >
Officer Conducting Search: K(2yn KY ‘So OL? >

Print Name Legibly Badge # Signature

|S CONFISCATED OR DAMAGED WHERE FOUND DISPOSITION OF ITEMS LISTED

in :
Vong Teor Tr <el) Dy sees
Sac Gee SHEP

NO CONTRABAND FOUND NO PROPERTY DAMAGED DURING SEARCH

NOTICE TO INMATE: YOU MAY WRITE TO THE DEPUTY SUPERINTENDENT FOR SECURITY WITHIN 7 DAYS OF
THIS RECEIPT REGARDING THE CONFISCATION OR DISPOSITION OF THESE ITEMS.

NOTE: DURING THIS CELL FRISK, MY INITIALS BELOW INDICATE THAT THE CELL INTEGRITY CHECK HAS

BEEN COMPLETED AS FOLLOWS: (\
FLOORS: (A SINK/TOILET: q
AIR VENT: (Uh WINDOW CHECKED/INTACTS 3X.
CEILING: Ks watts: _((*%
BARS: (ye MISC: st

IN ADDITION: THE FOLLOWING ITEMS WERE CHECKED FOR COMPLIANCE:
PROPERTY LIMITS (No more than 4 bags of property): _/\
PHOTOGRAPH/PICTURE CO Lea NCE (No nudes visible from the front of cell. All photos/pictures confined in the

appropriate 2’ x 4’ section.)
INMATE ID MATCHE RE EP BEARANCE (Checked ID to inmate’s current appearance, if the inmate was

present for the search. }

Comments:

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 87 of 95

M 2171B (10/14) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION Te
4

Att }¢ F Correctional Facility
INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO

£2. 0-7

1. NAME OF INMATE (Last, First) ¢ NOMBRE DEL RECLUSO (Apellido, Nombre) NO. ¢ NUM. HOUSING LOCATION ¢ CELDA
™~ # enn :
by ee fe {- oo Gq Z/ on
bute | /PEEAWF CLS
2. LOCATION OF INCIDENT ¢ LUGAR DEL INCIDENTE INCIDENT DATE ¢ FECHA INCIDENT TIME ¢ HORA
+, 9 oo
poof othe i ary a ~ I 22
C- ~ast ‘a lfery f/O°2LZ 19 Z/ ao fry

3 RULE Bea ¢ VIOLACION/ES

=

Lb fm fo je pad all
CC 2/, ft? YO CFT Candee pe
ego 7 * / Z . t =
ot tof “ if bien 7 i .
BEL te OV eg + € tS tur Ware ¥..
4. D&SCRIPTION OF INCIDENT ¢ DESCRIPCION DEL INCIDENTE
is, aa 4 é 5\ si j aad . a Pa oe ie f -
LORY Peed? Chews cote re ref EPP (OO 3 pI-NF x re 4 yerng =f Co _ f£ & Oe Eyres
n = a co / - aT . - 3 Zé . 4 ; 2 fF Gig af « ?
LPne f Ce pezcek Lave l © egéorPing <aiighe hurl e))  f POE &FF tf be ck ¥
4 : oy wet mA B + ; fi ae f : e . }
Ais ute ee pe Shower, Fig af 0 Evi wee A ei * fof pr ao covehag

Wa keeps his head strait, Me refused lo carry Wy both rae order

z. eee i} i. ~ j : os j i“ ”
ere) ol ae Ve My Bay YSUIVE of 12 tifa tr Of Co FEZ ct € kK Crea tier a piitferbsrace
= ont -
/ uF
“eRe a Phx bil § i

om preeme, B e Late
foo e teol aoe ff

je 59D Kite Ce i¢ eel

i ed ¥

pn ie _Galfety
f
, fj

e

: if i ? oe
by Co vercdet ancl my se/F, Tamete byeres/ tts
-

»

b

the Cothhery ane! syto the (risk room te he seem by pieches/l

both, we fui tac tneidvat,

REPORT DATE ¢ FECHA.” |REPORTED BY ¢ NOMBRE DE LAPERSONA QUE HACE ELINFORME | SIGNATURE ¢ FIRMA TITLE ¢ TITULO
. en
ae Sn _
JO-L2-1F Shec-zy fo _ ww & Ca
5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (if any) SIGNATURES: } f y
‘ Le OL
ENDOSOS DE OTROS EMPLEADOS TESTIGOS (si hay) FIRMAS: 1. PAO men fof).

2 3.
NOTE: Fold back Page 2 on dotted line before completing below.

DATE AND TIME SERVED UPON INMATE OC | 2 4 20 1 9 NAME AND TITLE OF SERVER = —

FECHA HORA DADO AL RECLUSO __ ____ NOMBRE Y TITULO DEL QUE ENTREGA __

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. ¢ Por este medio se le informa que no se puede usar ninguna declaracién hecha por usted como respuesta al cargo o la informacién derivada de ella
en una demanda criminal.

NOTICE ¢ AVISO
REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing to be held. ¢ Por este medio se le norifica que
el informe anterior es un carge formal el cual se considerara y determinara en una audiencid-a celebrarse.

The inmate shall be permitted to call witnesses provided that so doing does not jeopardize institutional safety or correctional goals. ¢ Se le permitira al recluso llamar
testigos con tal de que al hacerlo no pondra en peligro la seguridad de la institucién o los objectivos del Departamento.

If restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior to the hearing to make
a statement on the need for continued prehearing confinement. ¢ Si esta restringido pendiente a una audiencia por este informe de mal compartamiento, puede
escribirle al Diputado del Superintendente para Seguridad o su representante antes de la audiencia para que haga una declaracién acerca de la necesidad de
continuar bajo confinamiento, previo a la audiencia.
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 88 of 95

Exhibit

Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 89 of 95

pt NEW | Corrections and
7 giare | Community Supervision

ANDREW M. CUOMO ANTHONY J. ANNUCCI
Governor Acting Commissioner

MEMORANDUM

TO: Burrell, Ako, 17B2994 (29-05)
FROM: CAPTAIN R. MITCHELL feign
DATE: January 9, 2020

RE: _ EXPUNGEMENT OF A TIER III HEARING

Per Mr. D. Venettozzi, Director of Special Housing/Inmate Disciplinary
Program, your Tier IIl hearing held on OCTOBER 30, 2019 by CAPT D. HODGES
at Attica Correctional Facility has been reviewed and reversed.

All references wili be removed from your record.

RM/cq

C. Deputy Superintendent for Security

Inmate Records
Block Hall Captain

~ Program Office
PK Office .
Commissary”
Package Room*
Visiting Room*
Front Gate*

* Copy only if it pertains to that specific area

Attica Correctional Facility, 639 Exchange Street, Attica, NY 14011-0149 | (585) 591-2000 | www.doccs.ny.gov
Case 1:22-cv-00506-LJV-LGF Document1 Filed 06/29/22 Page 90 of 95

NEW YORK STATE
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCI JAMES O'GORMAN
ACTING COMMISSIONER DEPUTY COMMISSIONER
CORRECTIONAL FACILITIES
REVIEW OF SUPERINTENDENT'S HEARING
NAME: BURRELL, AKO NO. 17B2994

HEARING FACILITY: ATTICA

ON BEHALF OF THE COMMISSIONER AND IN RESPONSE TO YOUR RECENT
LETTER OF APPEAL, PLEASE BE ADVISED THAT YOUR SUPERINTENDENT'S HEARING OF

OCTOBER 30, 2019, HAS BEEN REVIEWED AND REVERSED ON JANUARY 7, 2020.

D. VENETTOZZ1
DIRECTOR, SPECIAL HOUSING/
INMATE DISCIPLINARY PROGRAM

CC: FACILITY SUPERINTENDENT
CENTRAL OFFICE FILES

APPEAL DECISION RENDERED PURSUANT TO SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY OF THE DIRECTOR OF SPECIAL
HOUSING/INMATE DISCIPLINE PROGRAM.
Case 1:22-cv-00506-LJV-LGF

=

Document 1

Filed 06/29/22

Page 91 of 95

Case 1:22-cv-00506-LJV-LGF Document 1

12/04/19 SDCPO007 DISCIPLINARY SYSTEM
ATTICA GENERAL
INMATE CURRENT SANCTIONS
17B2994 BURRELL, AKO

PENALTY LENGTH START
SPECIAL HOUSING UNIT 0 45 10/30/19
KEEPLOCK 0 20 12/14/19
KEEPLOCK Oo 10 1/03/20
LOSS OF PACKAGES 0 20 3/06/20
LOSS OF PACKAGES 0 45 3/26/20
LOSS OF PACKAGES Oo 10 5/10/20
LOSS OF COMMISSARY 0 20 3/06/20
LOSS OF COMMISSARY O 45 3/26/20
LOSS OF COMMISSARY 0 #10 5/10/20
LOSS OF PHONE 0 20 3/06/20
LOSS OF PHONE 0 45 3/26/20
LOSS OF PHONE Oo 10 5/10/20

*x*xSUCCESSFUL PRINT COMPLETION

Filed 06/29/22

*xFPMS*

Page 92 of 95

PAGE 001

LOCATION: RB-CE-014

RELEASE

12/14/19
1/03/20
1/13/20

3/26/20
5/10/20
5/20/20

3/26/20
5/10/20
5720/20

3/26/20
5/10/20
5/20720
Case 1:22-cv-00506-LJV-LGF

JS 44 (Rev. 10/20)

CIVIL COVER SHEET

Document 1

Filed 06/29/22 Page 93 of 95

22 CV 506

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Ako K. Burrell

(b) County of Residence of First Listed Plaintiff

#17B2994

Franklin

DEFENDANTS
Joseph Noeth, Superintendent of ACIF

County of Residence of First Listed Defendant

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number}

Pro Se

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (Jf Known)

Hl. BASIS OF JURISDICTION (Place an “x” in One Box Only)

Il]. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

(J! US. Government [K]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [}1 (2) 1 Incorporated or Principal Place []4 (4
of Business In This State
CL) 2 U.S. Government CL 4. Diversity Citizen of Another State C 2 CL 2 Incorporated and Principal Place 5 CT 5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a rl 3 CI 3 Foreign Nation CT 6 OC 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT 367 Health Care/ 400 State Reapportionment
L] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment} Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CJ 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle -| 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[| 190 Other Contract Product Liability LI 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury O 385 Property Damage ~ 1740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation T | 865 RSI (405(g)) | | 891 Agricultural Acts
| [210 Land Condemnation 440 Other Civil Rights Habeas Corpus: - 791 Employee Retirement | | 893 Environmental Matters
[| _] 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate L_] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | x] 530 General [|] 871 1RS—Third Party 899 Administrative Procedure
Lj 290 All Other Real Property 445 Amer. w/Disabilities - |_| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of

Employment

|] 446 Amer. w/Disabilities -
Other

|] 448 Education

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

Agency Decision
| 950 Constitutionality of
State Statutes

462 Naturalization Application
465 Other Immigration
Actions

V. ORIGIN (Place an “xX” in One Box Only)

1 Original
Proceeding

r]2 Removed from
State Court

3 Remanded from
Appellate Court

Cl4

Reinstated or CI 5 Transferred from 6 Multidistrict 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:

VII. REQUESTED IN

[] CHECK IF THIS

IS A CLASS ACTION

DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — L]Yes_[LNo
VIII. RELATED CASE(S)

IF ANY (See instructions): TUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE LO V MAG. JUDGE

eT ETE HEU pf et tp typea fete tater TY

Upstate

Correctional Facility

neopost”
06/27/2022

teers $009.102

et ZIP 12953
041111251145

